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Attorneys for Plaintiffs

                                      UNITED STATES DISTRICT COURT

                                             DISTRICT OF OREGON



MELLAND GROUP, LLC d/b/a
nTRUST, an Oregon limited liability                                              No. CV08-957-AC
company, and ALLAIN DE LA MOTTE,

                               Plaintiffs,
                                                      DECLARATION OF ROBERT M. WEST IN
         v.                                           SUPPORT OF PLAINTIFFS' MOTION FOR
                                                      PRELIMINARY INJUNCTION
BERND H. WEBER, CLAUDE J.
CHAUVEAU, AMERICAN GULF
FINANCE CORP., ALVION
PARTNERS, LLC, WEBER, LLC, AGF
REALTY SOLUTIONS, INC.,
ALEXON HOLDINGS
INTERNATIONAL LTD., TIMEDATA
CORPORATION, TIME DATA
HOLDINGS, LLC, and DOES 1-10,

                               Defendants.


         I, Robert M. West, declare:


1 - DECLARATION OF ROBERT M. WEST IN
                                                                               Perkins Coie llp
      SUPPORT OF PLAINTIFFS' MOTION FOR                               1120 N.W. Couch Street, Tenth Floor
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          1.       I am President of Plaintiff, Melland Group, LLC ("Melland"). I make this

declaration in support of Plaintiffs' Motion for Preliminary Injunction. The following is true to

the best of my knowledge, information and belief.

         2.        I have been a resident of the State of Oregon since August 1, 1998, and currently

reside in Lake Oswego, Oregon.

         3.        I have been involved in the financial consulting services industry for 4 years. I

provide operations support for my partner, Plaintiff Allain L. de la Motte ("de la Motte"), who

specializes in creating paradigm-shifting, innovative financial structures, strategies and products

for banks, financial institutions and companies seeking innovative financing, as well as to the

investment community at large.

         4.        Melland d/b/a nTrust is an Oregon limited liability company that provides

financial consulting services. Melland offers paradigm-shifting, innovative financial structures,

strategies and products to banks, financial institutions and companies seeking innovative

financing, as well as to the investment community at large.

         Intellectual Property

         5.        Melland is and has been teaming with de la Motte to monetize and market

confidential and proprietary financial engineering technologies (business methods) created by de

la Motte, including United States, foreign and international pending patent applications. These

financial engineering technologies include (i) "Trust-Linked Banking" technology incorporating

a debit card product that pays a trust dividend on deposits held in trust (e.g., the 'Trust-Linked

Debit Card"); (ii) institutional capital enhancement funding ("ICEF") technology; (iii) complex

"Riskless Principal" or "Principal-Protected" structured investment methods and systems; and

(iv) various other finance-related and/or profit generation strategies, proprietary systems,

methods and processes. The de la Motte technologies also include trade secret information, such

as confidential and proprietary financial tools implementing the financial technologies, including

cost data, formulas, compilations, methods, techniques, processes, know-how, information about

2-   DECLARATION OF ROBERT M. WEST IN
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customer particularities and preferences, pricing and margin information, keys for implementing

the technologies for particular applications, spreadsheets, drawings, flowcharts, diagrams,

datasheets, deal sheets, term sheets, contracts for implementing different aspects and components

of the technologies, and other documents describing and explaining in detail the confidential and

proprietary financial technologies and structures for financial transactions utilizing de la Motte's

technologies.

          6.       Melland also safeguards trade secret information pertaining to its financial

technologies, including know-how, information about customer particularities and preferences,

pricing and margin information, keys for implementing confidential and proprietary financial

technologies for particular applications, spreadsheets, drawings, flowcharts, diagrams,

datasheets, deal sheets, term sheets, contracts for implementing different aspects and components

of confidential and proprietary financial technologies, and other documents describing and

explaining in detail confidential and proprietary financial technologies and structures for

financial transactions.

         7.        Melland is the applicant for a trademark and service mark, serial no. 77216797,

"NTRUST," in connection with goods and services including: electronic data carriers in the form

of magnetically encoded debit cards; printed matter and publications, namely, non-magnetically

encoded debit cards; and financial services, namely, providing debit card services, administration

of the issuance, redemption and processing of cash disbursement, transaction authorization and

settlement services in the nature of cash management and electronic case transaction services,

formation, operation and termination of trust management accounts, and management of trust

accounts that are connected to bank accounts. Melland uses and has used the NTRUST

trademark and service mark in commerce in connection with these goods and services. A true

and correct copy of the mark application receipt from the USPTO is attached hereto as Exhibit

A.




3-    DECLARATION OF ROBERT M. WEST IN
                                                                               Perkins Coie llp
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          8.        Melland uses in commerce the unregistered trademark and service marks

 "Melland Group," "Melland Group, LLC," "ICEF," and "Institutional Capital Enhancement

 Funding (ICEF) Program" in conjunction with financial and investment structures, strategies and

 products, and providing services for creating financial and investment structures, strategies and

 products. I am aware that de la Motte has many pending patent applications for his financial

technology inventions, including broad patent families that encompass the financial technologies

for which Melland is and has been working with de la Motte to monetize and market. I will

hereafter collectively refer to all of the de la Motte and Melland confidential information,

technology and trade secrets described above as the "Confidential Technology." Likewise, I will

collectively refer to the Confidential Technology and the technology covered by the pending

patent applications together as the "Proprietary Technology."

          Measures to Maintain the Secrecy of the Confidential Technology

          9.       Melland derives independent economic value, actual or potential, from the

Confidential Technology not being generally known to the public, and/or to other persons who

can obtain economic value from its disclosure or use. It is of the utmost importance to Melland's

business to maintain the Confidential Technology in the strictest of confidence. As such,

Melland employs measures to maintain the secrecy of this information. Melland does not

disclose information about the Confidential Technology without requiring a potential recipient to

execute a non-disclosure agreement prohibiting the recipient from disclosing the Confidential

Technology. Melland carefully screens and limits potential recipients to whom it will allow

disclosure under a non-disclosure agreement (Standard, Melland Confidentiality, Non-

Disclosure, Non-Utilization Agreement "CNDA"). Melland password protects documents

containing Confidential Technology and, for some aspects of the Confidential Technology, does

not allow third parties to possess any copies of documentation (documents are viewable only and

always in Melland's possession).



4-    DECLARATION OF ROBERT M. WEST IN
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Defendants' Access to and Non-Disclosure Agreements Regarding The Confidential
Technology

        10.    During the week of April 2,2007, Melland appointed Defendant Chauveau its

Chief Information Officer. Prior to that, Chauveau, on April 27, 2006, executed a Melland

CNDA, which also was applicable to Chauveau's appointment, and pursuant to which Chauveau

agreed, among other things, to: maintain the confidentiality of the Confidential Technology and

limit its disclosure; not duplicate and/or distribute the Confidential Technology for any purpose

other than Melland's legitimate business purposes; and/or not use, discuss and/or disclose the

Confidential Technology for any purpose without prior written approval of Melland. A true and

correct copy of Chauveau's CNDA is attached as Exhibit B.

       11.     During December 2006, Defendant Weber, who represented to Melland that he

was the exclusive agent and representative of Alvion Properties, Inc. (a legitimate coal concern

based in Harrisburg, Illinois), approached Melland to inquire about sub-licensing all or a portion

of the Proprietary Technology. As a condition of sub-licensing the Proprietary Technology,

Weber, on December 27,2006, and ostensibly on behalf of Alvion Properties, Inc., executed a

CNDA with Melland containing the same non-disclosure restrictions contained in the CNDA

executed by Chauveau. A true and correct copy of Weber's CNDA is attached as Exhibit C.

       12.     Pursuant to the executed CNDAs, Melland commenced disclosing, in detail to

Chauveau and Weber, the intricacies and nuances of the Proprietary Technology.

       13.     In addition to serving as the Melland CIO, Chauveau also owned and operated the

TimeData Defendants, which own and license financial time stamping technology. Based on de

la Motte's personal relationship with Chauveau and de la Motte's and Melland's business

relationships with Chauveau, including his executed CNDA, Melland, in February 2007, agreed

to assist Chauveau with capitalizing TimeData by utilizing a portion of the Proprietary

Technology. In that regard, on February 12,2007, Paul Toldalagi, then President and COO of

TimeData, executed a CNDA with Melland on behalf of TimeData that contains the same non-


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disclosure restrictions contained in the CNDAs executed by Chauveau and Weber. A true and

correct copy of the TimeData CNDA is attached as Exhibit D. Pursuant to the executed CNDA,

we commenced disclosing, in detail to TimeData and its employees, the intricacies and nuances

of the Proprietary Technology.

          14.      During early May 2007,1, along with de la Motte, traveled to New York to meet

with several potential licensees of the Proprietary Technology. We stayed with Chauveau at

Chauveau's combination office/condo in Brooklyn, during which time we spent many hours with

Chauveau further explaining the Confidential Technology in greater detail. For example, and

among other things, we shared with Chauveau multiple Excel spreadsheets containing

voluminous information pertaining to different aspects of the Confidential Technology. We also

shared with him how this Confidential Technology related to technology covered by de la

Motte's pending patent applications.

          15.      On September 1, 2007, Weber traveled to Melland's corporate offices in Portland,

Oregon to meet with me and de la Motte to further learn about the Proprietary Technology and

its application in the marketplace, including application to Alvion Properties, Inc.'s financial

situation. Pursuant to the CNDA executed by Weber on behalf of Alvion Properties, Inc., we

continued to disclose to Weber, in detail, the intricacies and nuances of the Proprietary

Technology.

          16.      After participating in multiple in-depth meetings and conferences with Melland

officers to learn about the Proprietary Technology, Weber, on November 5, 2007 returned to

Portland, and thereafter represented to Melland that Alvion Properties, Inc. was prepared to

move forward with sub-licensing and implementing the Proprietary Technology. Prior to

returning to Portland, Weber had executed on October 29,2007, a second CNDA with

Melland—this time on behalf of American Gulf, Weber's wholly-owned company. The CNDA

contains the same non-disclosure restrictions contained in the CNDAs executed by Chauveau,




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 Weber (on behalf of Alvion Properties, Inc.) and TimeData. A true and correct copy of Weber's

 CNDA on behalf of American Gulf is attached as Exhibit E.

          17.      Accordingly, on November 7, 2007, Melland and Alvion Properties, Inc. entered

 into a Consulting Agreement, pursuant to which Melland, as Consultant ("Consultant") agreed

 to implement the confidential and proprietary financial technologies for and on behalf of Alvion

 Properties, Inc. ("Company"). This agreement may be referred to as the "Alvion Coal Deal." A

 true and correct copy of the Consulting Agreement is attached as Exhibit F.

          18.      Weber executed the Consulting Agreement on behalf of Alvion Properties, Inc.

 as its Chief Financial Officer. The Consulting Agreement contains non-disclosure restrictions

 similar to the restrictions contained in the CNDAs executed by Chauveau, Weber (on behalf of

 Alvion Properties, Inc.) and TimeData, and includes additional confidentiality language in

 Paragraph 3(c) regarding the ownership of any new technologies and/or applications that might

 result from the efforts of Melland on behalf of Alvion Properties, making it very clear in the

 concluding sentence that any new technologies and/or applications would belong to Consultant

 and/or de la Motte, to wit: "// is expressly agreed that any new ideas, concepts and/or strategies

 developed by Consultant during the course ofproviding sen'ices to the Company under this

 Agreement ("New Technology") shall remain the exclusive property o/Allain de la Motte

 and/or Consultant as the case may be. Company hereby waives any rights or interest in any

 New Technology."

          19.      As a result of the meetings on November 5-7, 2007, Weber also represented to

 Melland that he could organize several sub-licensing agreements for the Proprietary

 Technology with various companies and financial institutions based on his contacts in

 worldwide financial markets. In that he fashioned himself a "free agent" in the financial

 marketplace, Weber suggested the best way for him to go about securing additional sub-

 licensing agreements was for Melland to bestow on him a title. Based on Weber's

 representations, Melland appointed Weber Senior Vice-President, Project Development.

7-   DECLARATION OF ROBERT M. WEST IN                                      „   ,.   „ .
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        20.     On November 26,2007,1 traveled to New York along with de la Motte, Weber

and Thomas L. Estes ("Estes"), then acting Chief Investment Officer of Melland, for two weeks

of meetings, the principal purpose of which was to engage BNY Mellon to (i) serve as the

institutional Trustee for Alvion Properties, Inc.'s coal assets as part of implementing the

Proprietary Technology, and (ii) provide or, alternatively, syndicate with other banks a credit

facility for which the coal assets would serve as collateral.

        Defendants' Unauthorized Uses of the Confidential Technology

        21.     In January 2008, Melland initiated discussions with representatives of Deloitte

and Touche, LLP ("Deloitte") in New York to explore a consultancy with Deloitte regarding

"banking and accounting regulations" relating to the ICEF Program. Melland and Deloitte

ultimately executed a CNDA after several weeks of negotiations. A true and correct copy of the

Deloitte CNDA is attached as Exhibit G. I later learned from Alvion Properties that during

February 2008, Weber and Chauveau attempted to leverage the Melland/Deloitte relationship by

seeking funds from the Alvion Properties1 owners to secure a Deloitte opinion and endorsement

of the ICEF Program that they, in turn, could use in their efforts to market the Proprietary

Technology. Weber and Chauveau did not inform Melland that they attempted to gain this

opinion from Deloitte, nor that they attempted to solicit funding for it from Alvion Properties.

Melland had not authorized Weber and Chauveau to seek funds from Alvion Properties for such

an opinion letter.

       22.      Thereafter, Chauveau and Weber engaged me and de la Motte in discussions to

form a joint venture—the cornerstone of which was to be the Proprietary Technology. On

January 21,2008, Chauveau delivered to me and de la Motte a document, entitled "BrainTrust"

Financial Centre (BFC) L.L.C.," which outlined the proposed partnership between the four

parties. "Fundamental" to the proposal was the requirement that de la Motte and Melland assign

the Proprietary Technology to the new venture ("Newco"), thereby effectively conferring 1/3

ownership interest each in the Proprietary Technology to Chauveau and Weber. A true and

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correct copy of the "BrainTrust" document is attached as Exhibit A to the Declaration of Allain

de la Motte ("de la Motte Declaration"), filed concurrently herewith..

       23.     In the "Title" field of the "properties" section of this Microsoft Word version of

the "BrainTrust" document, we found the following note from Weber to Chauveau: "[t]he

creativity braintrust centre to make money offthe 'patents' is in Toronto and NYC - so, let's work

hard myfriend -lam taking a break now and cookfor Monda, I had my 9 hours already -

therefore, I would suggest you give it a shotfirst and we get..." A true and correct copy of a

screenshot of the "properties" section of the "BrainTrust" document showing the text discussed

above in the "title" field, as well as a true and correct copy of a Word document of the text

copied from the "Title" field so that it may be viewed in its entirety, are attached as Exhibit B to

the de la Motte Declaration.

       24.     In response to de la Motte communicating that he would not assign his patents

and/or pending patent applications or the Confidential Technology, Chauveau and Weber stated

their intention to take the Proprietary Technology outright and "go it alone" without de la Motte

and Melland. As a result, our negotiations to form Newco ceased.

Defendants' Unauthorized Disclosures of the Confidential Technology

       25.     On or about January 18,2008,1 learned that on or about December 19, 2007,

while supposedly working on the "Alvion Coal Deal," Weber, without Melland's knowledge,

surreptitiously obtained an executed CNDA from Commerce Bancorp in Cherry Hill, New

Jersey (a true and correct copy is attached hereto as Exhibit H) by falsely representing to

Commerce Bancorp in a letter that AGF Realty and Alvion Partners had a license to the

Proprietary Technology. Melland had not authorized Defendants to represent to Commerce Bank

that the Proprietary Technology was property of Defendants.

       26.     The CNDA executed by Commerce Bancorp and AGF Realty and Alvion

Partners is the same as the Melland CNDA form previously executed by Weber on multiple

occasions, but devoid of any references to Melland, nTrust and/or de la Motte. Melland had not

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authorized Defendants to use or alter the Melland document in this manner. I asked Weber why

he excluded mention of Melland in this (2NDA, but he failed to respond to my question.

       27.     On February 11, 2008, Melland sent individual letters to Weber and Chauveau

accepting their resignations. These letters were preceded by oral representations made by Weber

and Chauveau to Melland's attorneys Seward & Kissell in New York on February 7,2008, that

they no longer intended to "work with us." These letters were addressed to Weber as Senior Vice

President—Project Development and Chauveau as Chief Information Officer, respectively, of

Melland. In the letters, Melland further reminded Weber and Chauveau that they continued to be

bound by their CNDAs with Melland, and warned them not to use and/or disclose the

confidential and proprietary financial technologies to anyone else without authorization. True

and correct copies of the letters sent to Weber and Chauveau are attached as Exhibits C and D to

the de la Motte Declaration.

       28.     On or about May 22,2008,1 learned that, consistent with their threats and stated

intentions, Weber and Chauveau secretly provided to Brad Henshaw ("Henshaw"), Senior Vice

President of Farmer's State Bank in Harrisburg, Illinois, a portion of the ICEF Program. The

portion of the ICEF Program provided to Henshaw described some of the Confidential

Technology of de la Motte and Melland, but did not mention de la Motte, nTrust or Melland.

Melland had not authorized Defendants to disclose the Confidential Technology to Henshaw or

Farmer's State Bank. The ICEF information provided by Defendants to Henshaw is attached as

Exhibits A-C to the Declaration of Brad Henshaw ("Henshaw Declaration"), filed concurrently

herewith.

       29.    I also learned that Defendant Alvion Partners had delivered an ICEF Program deal

sheet to Farmer's State Bank, claiming that it was Defendant Alvion Partners' technology. The

ICEF Program deal sheet describes the Confidential Technology of de la Motte and Melland.

The deal sheet does not mention de la Motte, nTrust and/or Melland. Melland had not authorized

Defendants to deliver or disclose the ICEF Program deal sheet to Farmer's State Bank. A true

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 and correct copy of the ICEF Program deal sheet is attached as Exhibit C to the Henshaw

 Declaration.

          30.      I also learned that Defendant Weber had delivered a PowerPoint presentation to

 Farmer's State Bank discussing an "AP Invent Program," claiming that it was Defendant Alvion

Partners' technology. The content of the PowerPoint presentation describes the Proprietary

Technology of de la Motte and Melland, including the ICEF technology. The PowerPoint

presentation does not mention de la Motte nTrust, and/or Melland. Melland had not authorized

Defendants to deliver or disclose information concerning the ICEF Program to Farmer's State

Bank. A true and correct copy of the PowerPoint presentation discussing the AP Invent Program

is attached as Exhibit D to the Henshaw Declaration.

         31.       On or about September 30, 2008,1 learned that Weber delivered information,

including an agreement entitled "AGF Asset Management Agreement" to a third party named

Tanglewood Development, LLC ("Tanglewood") in North Carolina, in an apparent attempt to

legitimize himself and his financial expertise in an effort to secure the management of

Tanglewood's real property assets. Until learning of this unauthorized disclosure by Weber,

Melland had never heard of Tanglewood. Melland did not authorize Defendants to deliver or

disclose the Confidential Technology to Tanglewood.

         32.       On or about November 21,2008,1 learned that Weber delivered a letter to

Tanglewood on behalf of Defendant American Gulf Finance Corporation regarding a "Real

Estate Unit Participation Trust" and in which Weber solicited Tanglewood's participation in a

fund involving Defendant AGF Realty Solutions, LLC and a trust entitled "AGFC Investment

Banking Trust I," which Weber claimed held the assets of Alvion Properties ("the Letter").

Weber dated the Letter on September 27,2007, prior to Weber assuming a role as officer of

Melland but after he had executed a CDNA on behalf of Alvion Properties. The Letter is nearly

a word-for-word copy of a document created by Melland describing the Confidential Technology

including specifically terms for a Real Estate Unit Participation Trust (REUPT) that Melland had

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been working on for an investor group customer, Choice Equities, since September 2006. The

Letter discusses information concerning Confidential Technology for which Choice Equities had

executed CNDAs and a Consulting Agreement, and for which Choice Equities had paid. For

example, "The Basic Program" is a replication of same from the Melland Term Sheet of the

REUPT. The "Structural Overview and Process Description" is verbatim taken from documents

prepared by Choice Equities and Melland in preparation for a Private Placement Memorandum

being prepared by a Portland law firm and paid for by Choice Equities, and from further

documents prepared by Melland. The "Cost and Reimbursement" section is a perfect replica in

form, though the money amounts differ, of Melland's estimates given to potential customers and

investors in REUPT. Weber lifts portions of protocol Plaintiffs' created for dealing with their

customers, the "Melland Relationship Protocol," which he includes in the "Cost and

Reimbursement" section of the Letter. Weber represents in the Letter that attorneys Nixon

Peabody, LLC and Cadwalader, Wickersham & Taft were to be legal advisors for the deal, but

these were Plaintiffs' attorneys whose services Plaintiffs used in connection with Plaintiffs'

REUPT. Weber did not even know those attorneys at that time. Despite that the Letter describes

Melland's and de la Motte's Confidential Technology, the Letter does not mention of Melland,.

nTrust and/or de la Motte. Melland did not authorize Defendants to deliver or disclose the

Confidential Technology to Tanglewood, nor did Melland authorize Weber or Defendant

American Gulf Finance Corporation or Defendant AGF Realty Solutions, LLC to claim that the

Confidential Technology was their technology. A true and correct copy of the Letter sent by

Weber to Tanglewood is attached as Exhibit A to the Declaration of Jon S. Crouse, filed

concurrently herewith.

         33.      Choice Equities' relationship with Melland, as well as the underwriting portion of

the work necessary to prepare the Private Placement Agreement had been revealed to Weber by

Choice in the many conversations Weber had with their CEO. Weber knew that Melland had

agreed in this Consulting Agreement in principal to sub-license de le Motte's technology to

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Choice Equities for the REUPT and that they would be the sole, at least initial, sub-licensee for

this application

         34.       Weber misrepresents in the Letter that Defendant American Gulf had "licensed

access" to the intellectual property described. However, neither Weber nor Defendant American

Gulf had license to Melland and de la Motte's Proprietary Technology. In fact, Weber had not

even signed the CNDA for Defendant American Gulf at that time and Defendant American Gulf

did not have Plaintiffs' permission to access the Proprietary Technology let alone use it for their

and Weber's own benefit, misrepresent that they had license to it, and/or disclose it to

Tanglewood. (Weber executed the CDNA for Defendant American Gulf on October 29" 2007, a

week before coming to Portland to engage us in the Consulting Agreement.)




         I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief

         DATED: December 4, 2008




                                                Robert M. West




13 - DECLARATION OF ROBERT M. WEST IN
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      SUPPORT OF PLAINTIFFS' MOTION FOR                               1120 N.W. Couch Street. Tenth Floor
      PRELIMINARY INJUNCTION                                               Portland. OR 97209-4128

69726-0001 1 .KGAL1 1952707.1
                                                                             Phone: 503.727.2000
                                                                              Fax: 503.727.2222
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MELLAND GROUP NTRUST TRADEMARK. - USPTO
PER USPTO TESS WEBSITE AS OF SEPTEMBER 1, 2008




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                                                                                                                                             Exhibit A, Page 1
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                              RECIPROCAL CONFIDENTIALITY
                            AND NON-UTILIZATION AGREEMENT


      THIS RECIPROCAL CONFIDENTIALITY AND NON-UTILIZATION AGREEMENT
      (this "Agreement") Is made by and between Melland Group, LLC, P.O. Box 3622,
      Hlllsboro, OR 97123 (the "Company") and


                Name:

                Address:



                   City, St., Zip                              .                    .


       ("Interested Party") with reference to the following:

                                                  RECITALS

              WHEREAS, the Company wishes to disclose to Interested Party certain
       proprietary intellectual property (the "Technology") that includes, amongst other
       things, patent-pending systems and methods that pertain to: (a) a new type of
       "Trust-Linked Banking" technology that Incorporates a Debit Card product fhat pays
       a trust dividend on Investments of the trust known as a "Trust-Linked Debit Card";
       and (b) various other finance-related or Investment-related pending patents, trade
       secrets and proprietary systems and methods belonging to the Company; and

             WHEREAS, the Company Is Interested In entering into a licensing or a joint
       venture agreement with Interested Party regarding the use or application of the
       Technology; and

               WHEREAS, In order to conduct such discussions and any subsequent
        negotiations between the parties, each party may have need of Information from the
        other party that is regarded as confidential to the disclosing party;

               NOW, THEREFORE, for and In consideration of the foregoing premises, and
        the mutual promises and undertakings contained herein, the parties hereto agree as
        follows:

                                                  AGREEMENT

                1.        Definitions.

                           1.1      "Confidential Information," as used herein, shall mean
        Information of, entrusted to or in the possession of the disclosing party and disclosed
        to the recipient by the disclosing party or any third party for or on behalf of the
        disclosing party, orally or .In writing, and which is not generally made available to the
        public at large, including but not limited to the concepts and business practices
        underlying the Technology and/or the Services (together referred to as the
         "Program") and shall all plans and proposal relating to the Program, all Program-
         related contracts, forms and procedures, all Program-related vendor relationships,
         financial data, costs, margins, software, computer programming, mailing or other
         marketing lists, customer lists, sources of supply, Information concerning employees,
         any advertising, promotion products or any other Information of a proprietary or


         Initiate/]         (Interested Party)                          Initials JgU- (the Company)




                                                                           Exhibit B, Page 1
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      Reciprocal Confidentiality & Non-UtMlzatlon Agreement                           Page 2 of 4

      non-public nature. Confidential Information specifically related to the Technology
      shall also Include Information of the Company's of a strategic, financial, technical,
       research, marketing, operational and/or performance nature, and shall further
       include trade secrets, roll-out and Implementation plans, cost know-how, pricing
       methodology, projections, software design, computer systems, demonstration
       programs, routines, algorithms, data systems and databases, techniques,
       methodologies, designs, procedures, formulas, Inventions, discoveries,
       improvements, concepts, records, files, memoranda, reports, drawings, diagrams,
       charts, data tables, plans, customer lists, Information relating to past, present,
       and/or future clients, information relating to any research, development, business
       activities and strategic development plans.

                        1.2      "Reasonable Care" as used herein shall mean the same
       degree of care exercised by the receiving party with respect to its own Confidential
       Information, which Is of the same nature and sensitivity as Confidential Information
       provided, by the disclosing party.

               2.     Obligations of Receiving Party. The parties agree that the recipient
       of Confidential Information shall upon receipt and thereafter:

                         2.1     Use Reasonable Care to maintain the confidentiality of such
       Confidential Information and limit Its disclosure to such of its directors, officers,
       employees or representatives as have a need to know such Confidential Information
        In order to evaluate and, if appropriate, implement Company's participation In the
        Program;

                     2.2    Be responsible for the compliance by Its directors, officers,
        employees or representatives with the provisions of this Agreement;

                         2.3      Not duplicate or distribute the Confidential Information for any
        purpose other than as provided In 2.1 above;

                          2.4     Not use any Confidential Information for any purpose without
        the prior written approval of the disclosing party;

                          2.5     Not discuss or disclose Confidential Information except as
        authorized by this Agreement or except as expressly authorized by the disclosing
        party;

                          2.6     Not disclose to third parties that it has possession of any of the
         Confidential Information, or disclose to third parties that It is contemplating
         participation in the Program; and

                           2.7     Not contact, without the disclosing party's prior written consent,
         any employees of or consultants to, the disclosing party, or any other third party,
         Including any vendors or the Company, to discuss any Confidential Information.
         (Nothing herein shall prevent the receiving party from contacting the representative
         of the disclosing party with questions on Confidential Information.)

               3.     Term of Agreement. This Agreement shall be effective as of the date
         executed by both parties and may not be terminated except by written mutual
         agreement. All of the provisions of this Agreement shall survive the return of the
         Confidential Information to the disclosing party pursuant to Section 5.




          initial./?"^ (Interested Party)                                  Initials _2L (the Company)


                                                                             Exhibit B, Page 2
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       Reciprocal Confidentiality & Non-Utilization Agreement                           Page 3 of 4

              4.     Exceptions to Receiving Party's Obligations. The obligations of a
       receiving party under this Agreement shall not apply to Confidential Information of
       the disclosing party to the extent it is:

                     4.1    Information that Is available or becomes available to the
       general public without restriction through no wrongful act or omission of the
       receiving party;

                      4.2    Information received from a third party having the right to
       transfer said information;

                           4.3    Information that is independently developed by the receiving
       party without reference to Confidential Information; or

                   4.4    Disclosed pursuant to a subpoena or order of a court, agency or
       government authority of competent jurisdiction which is binding on the receiving
       party provided that the recipient shall Immediately notify the disclosing party of and
       permit the disclosing party to contest any such subpoena or order.

                 5.        Return of Confidential Information. Upon request of the disclosing
        party, the receiving party shall immediately return to the disclosing party any and all
        tangible material containing Confidential Information, including any copies thereof
        and shall represent and warrant that all such documents have been returned. The
        receiving party shall make no further use or disclosure of any Confidential
        Information.

               6.    Non-Utilization. . Both parties acknowledge and agree that they have
        not been given permission by the other party to utilize any Confidential Information
        in any way, including, but not limited to, implementing the Program or developing
        any product or service substantially similar to the Program and that any right to
        utilize the Confidential Information In providing services and/or products to third
         parties shall only be pursuant to a subsequent written agreement of the parties.
         Neither this Agreement nor the transfer of any information hereunder, shall be
         construed as granting by implication, estoppel, or otherwise, any rights to the
        Technology.

                     7.     Warranties. The disclosing party warrants that it has the right to
         disclose to the receiving party Confidential Information under the terms and
         conditions of this Agreement and that to do so does not violate any obligations to
         any third party. ALL OTHER WARRANTIES ARE DISCLAIMED, INCLUDING THAT ANY
         INFORMATION IS FIT FOR A PARTICULAR PURPOSE OR MERCHANTABLE. Without
         limiting the preceding sentence, the parties make no warranty as to the accuracy or
         completeness of any information, which may be provided. The receiving party shall
         rely solely on its own analysis and expertise In determining whether to proceed with
         any transaction to which such Information may pertain. None of the Information
         which may be disclosed regarding the Technology shall constitute any
          representation, warranty, assurance, guarantee, or inducement of any kind, and, in
          particular, with respect to the non-Infringement of licenses, patents, trademarks,
          copyrights, trade secrets or any intellectual property rights, or other right of third
          persons.


                      8.     Limitation of Liabilities. The disclosing party shall not provide the
          receiving party with its only copy of the Confidential Information. In the event
          Confidential Information is lost, damaged, stolen or destroyed while in possession or



           Initial           (Interested Party)                              Initials    (the Company)




                                                                                Exhibit B, Page 3
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      Reciprocal Confidentiality & Non-Utilization Agreement                             Page 4 of 4

      control of the receiving party, the receiving party shall not be responsible for the
      costs of re-creating such Confidential Information.

             9.     Incorporation of Confidential Information in Other Documents.
      In the event that Confidential Information shall be incorporated Into other
      documents, whether separately or jointly generated by the parties, such other
      documents shall to the extent of such Confidential Information be deemed
      Confidential Information subject to the terms of this Agreement.

               10.    Injunctlve Relief. The receiving party acknowledges that the
       Confidential Information has been developed by the disclosing party with substantial
       effort and at substantial cost and, therefore, has value to the disclosing party; and
       that breach of any of the provisions of this Agreement could cause the disclosing
       party irreparable injury for which no adequate remedy at law exists. Accordingly, the
       disclosing party shall have the right, In addition to any other rights It may have and,
       by executing this Agreement, the receiving party hereby consents, to the entry in
       any court having jurisdiction of a temporary or permanent restraining order or
       injunction restraining or enjoining the receiving party from any violation of this
       Agreement. The receiving party further agrees to waive, and to use Its best efforts to
       cause Its directors, officers, employees and agents to waive, any requirement for the
       securing or posting of any bond In connection with such remedy.

             11.    Modification. This Agreement may only be modified in writing
       executed by both parties.

                12.     Attorney Fees. In any proceeding to enforce or interpret any of the
       terms of this Agreement, the prevailing party shall be entitled to recover its costs
       and attorneys fees.

              13.    Governing Law. This Agreement shall be governed by and construed
       in accordance with the laws of the State of Oregon. The jurisdiction and venue for
       any legal proceeding to Interpret or enforce this Agreement shall be in the State of
       Oregon.


               14.    Arbitration. Any disputes among the parties shall be decided .by
       arbitration before the American Arbitration Association sitting in Portland, Oregon
       and In accordance with the Commercial Rules of the AAA.

               IN WITNESS WHEREOF, the parties hereto (or their duly authorized
        representatives) have affixed their signature on the date set forth below.

        Accepted by:                                           Accepted by:
        INTERESTED PARTY                                       MELLAND GROUP, LLC




                                                               Date:




         Initials.       . (Interested Party)                                 Initials   . (the Company)




                                                                                  Exhibit B, Page 4
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        CONFIDENTIALITY, NON-DISCLOSURE AND NON-UTILIZATION
                                               AGREEMENT


       THIS CONFIDENTIALITY NON-DISCLOSURE, AND NON-UTILIZATION AGREEMENT
       (this "Agreement"), dated as of December 27, 2006, (the "Effective Date") Is made by and
       between Melland Group, LLC, an Oregon limited liability company located at P.O. Box 3622,
       Hillsboro, OR 97123 (the "Company") and


                  Name:                Alvlon Properties, Inc.

                 Address:              Suite Two-Twenty-Two, South Main
                  City, State, Zip:    Harrlsburg, Illinois 62946


        (the "Interested Party") with reference to the following:

                                                     RECITALS

                WHEREAS, the Company wishes to disclose to the Interested Party certain proprietary
        Intellectual property and business processes (the'Technology") that Includes, amongst other
        things, patent-pending systems and methods that pertain to: (a) a new type of "Trust-Linked
        Banking" technology that Incorporates a Debit Card product that pays a trust dividend on
        investments of the trust known as a "Trust-Linked Debit Card"; (b) a full-featured banklngby
        cell phone system designed to protect cardholders Identity and card transactions against fraud
        while allowing banking transactions to occur Instantly via a cell phone; and (c) various other
        finance-related or profit generation activities, pending patents, trade secrets and proprietary
        systems, methods and processes belonging to the Company or to third-party inventors; and

                 WHEREAS, in order to conduct such discussions and any subsequent negotiations
         between the parties, the Company may disclose Confidential Information (as defined herein)
         to the Interested Party;

                NOW, THEREFORE, for and in consideration of the foregoing premises, and the
         mutual promises and undertakings contained herein, the parties hereto agree as follows:

                                                     AGREEMENT


                  1.      Definitions.

                          1.1       "Confidential Information," as used herein, shall mean Information
         of entrusted to or in the possession of the Company and disclosed to the Interested Party by
         the Company or any third party for or on behalf of the Company, orally or in writing and
         which is not generally made available to the public at large, Including but not limited to the
         concepts and business pracUces underlying the Technology and any potential related services
          (hereinafter jointly referred to as the "Program") and all plans and proposal relating toi the
          Program, all Program-related contracts, forms and procedures, all Program-related vendor
          relationships, financial data, costs, margins, software, computer programming, mailing or
          other marketing lists, customer lists, sources of supply, information concerning employees,
          any advertising, promotion products or any other Information of a propnetary or n°n-Pu°lic
           nature. Confidential Information specifically related to the Technology shall also include
           information of the Company's of a strategic, financial, technical, research, marketing,
           operational and/or performance nature, and shall further Include trade secrets, roll-out and
           Implementation plans, cost know-how, pricing methodology, projections, software design,
           computer systems, demonstration programs, routines, algorithms, data systems a™
           databases, techniques, methodologies, designs, procedures, formu as, Inventions, discoveries,
           improvements, concepts, records, files, memoranda, reports, drawings, diagrams, charts, data
           tables, plans, customer lists, information relating to past, present, and/or future dlents,
           Information relating to any research, development, business activities and strategic
           development clans.



            Initials.
                              Interested Party)                               Initials J^!_ (the Company)




                                                                                  Exhibit C, Page 1
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        Reciprocal Confidentiality & Non-Utilization Agreement                                  Page 2 of 4

                        1.2    "Reasonable Care" as used herein shall mean the same degree of
        care exercised by any prudent person with respect to Information of a highly sensitive nature.

                2.       Obligations of Interested Party. The parties agree that the Interested Party
        as recipient of Confidential Information shall upon receipt and thereafter:

                         2.1    Use Reasonable Care to maintain the confidentiality of such
        Confidential Information and limit its disclosure to such of Its directors, officers, employees or
        representatives as have a need to know such Confidential Information In order to evaluate
        and, If appropriate, Implement the Company's participation In the Program;

                      2.2     Require its directors, officers, employees or representatives to execute
        an agreement with provisions similar to this Agreement;

                            2.3    Not duplicate or distribute the Confidential Information for any purpose
            other than as provided in Section 2.1 above;

                            2.4      Not use any Confidential Information for any purpose without the prior,
            written approval of the Company;

                            2.5      Not discuss or disclose Confidential Information except as authorized
            by this Agreement or except as expressly authorized by the Company;

                            2.6      Not disclose to third parties that It has possession of any of the
            Confidential Information, or disclose to third parties that It is contemplating participation In the
            Program; and

                             2.7     Not contact, without the Company's prior written consent, any
             employees of or consultants to, the Company, or any other third party, Including any vendors
             or the Company, to discuss any Confidential Information. (Nothing herein shall prevent the
             Interested Party from contacting the representative of the Company with questions on
             Confidential Information.)

                     3.      Term of Agreement. The term of this Agreement Is five (5) years from the
             Effective Date. All of the provisions of this Agreement shall survive the return of the
             Confidential Information to the Company pursuant to Section 5.

                       4.    Exceptions to Interested Patty's Obligations. The obligations of a
             Interested Party under this Agreement shall not apply to Confidential Information of the
             Company to the extent It Is:

                             4.1     Information that is available or becomes available to the general public
             without restriction through no wrongful act or omission of the Interested Party;

                              4.2     Information received from a third party having the right to transfer
              said information;

                              4.3      Information that is independently developed by the Interested Party
        .     without reference to Confidential Information; or

                               4.4     Disclosed pursuant to a subpoena or order of a court, agency or
              government authority of competent jurisdiction which is binding on the Interested Party
              provided that the Interested Party shall, to the extent permitted thereunder, Immediately
              notify the Company of and permit the Company to contest any such subpoena or order.

                       5.     Return of Confidential Information. Upon request of the Company, the
               interested Party shall Immediately return to the Company any and all tangible material
               containing Confidential Information, Including any copies thereof and shall represent and
               warrant that all such documents have been returned. The Interested Party shall make no
               further use>or disclosure of any Confidential Information.




                initial:       . (interested Party)                                 M^              <tne Company)




                                                                                       Exhibit C, Page 2
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!                              Reciprocal Confidentiality & Non-Utilization Agreement                                  Page 3 of 4
I   ■   '   '

                                       6.          Non-Utilization.   Both parties acknowledge and agree that they have not
                               been given permission by the other party to utilize any Confidential Information In any way,
                               Including, but not limited to, implementing the Program or developing any product or service
                               substantially similar to the Program and that any right to utilize the Confidential Information In
                               providing services and/or products to third parties shall only be pursuant to a subsequent
                               written agreement of the parties. Neither this Agreement nor the transfer of any Information
                               hereunder, shall be construed as granting by implication, estoppel, or otherwise, any rights to
■                              the Technology.

!               ,                       7.         Warranties. The Company warrants that It has the right to disclose to the
                j              Interested Party Confidential Information under the terms and conditions of this Agreement
                :              and that to do so does not violate any obligations to any third party. ALL OTHER WARRANTIES
                '              ARE DISCLAIMED, INCLUDING THAT ANY INFORMATION IS FTT FOR A PARTICULAR PURPOSE
                ;              OR MERCHANTABLE. Without limiting the preceding sentence, the parties make ho warranty as
                i              to the accuracy or completeness of any Information, which may be provided. The Interested
                j              Party shall rely solely on its own analysis and expertise in determining whether to proceed
                !              with any transaction to which such Information may pertain. None of the information which
                               may be disclosed regarding the Technology shall constitute any representation, warranty,
                               assurance, guarantee, or inducement of any kind, and, In particular, with respect to the non-
                :              Infringement of licenses, patents, trademarks, copyrights, trade secrets or any intellectual
                !               property rights, or other right of third persons.

                                         8.     Limitation of Liabilities. The Company shall not provide the Interested Party
                                with its only copy of the Confidential Information. In the event Confidential Information is lost,
                                damaged, stolen or destroyed while In possession or control of the Interested Party, the
                                Interested Party shall not be responsible for the costs of re-creating such Confidential
                                Information.

                                        9.      Incorporation of Confidential Information in Other Documents. In the
                                event that Confidential Information shall be Incorporated Into other documents, whether
                                separately or Jointly generated by the parties, such other documents shall to the extent of
                                such Confidential Information be deemed Confidential Information subject to the terms of this
                                Agreement.

                    I                       10.     Injunctive Relief. The Interested Party acknowledges that the Confidential
                    <            Information has been developed by the Company with substantial effort and at substantial
                                 cost and, therefore, has value to the Company; and that breach of any of the provisions of this
                                 Agreement could cause the Company Irreparable injury for which no adequate remedy at law
                                 exists. Accordingly, the Company shall have the right, In addition to any other rights It may
                                 have and, by executing this Agreement, the Interested Party hereby consents, to the entry In
                                 any court having Jurisdiction of a temporary or permanent restraining order or Injunction
                                 restraining or enjoining the Interested Party from any violation of this Agreement. The
                                 Interested Party further agrees to waive, and to use its best efforts to cause its directors,
                                 officers, employees and agents to waive, any requirement for the securing or posting of any
                                 bond In connection with such remedy.              .                              .

                                         11.     Damages. Any breach of this agreement by the Interested Party shall render
                                 the Interested Party liable to the Company for liquidated damages in the amount of ten
                                 thousand ($10,000) dollars' per breach. The Company shall have the right to seek either
                                  remedy provided in Section 10 or Section 11.

                                             12.     Modification. This Agreement may only be modified In writing executed by
                                  both parties.

                                          13.    Attorney Fees. In any proceeding to enforce or interpret any or the terms of
                                  this Agreement, the prevailing party shall be entitled to recover Its costs and attorneys fees.




                                   Initials _      W, terested Party)                                              P
                                                                                                         Initials _J     (the Company)




                                                                                                             Exhibit C, Page 3
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           Reciprocal Confidentiality & Non-Utllizatlon Agreement                                     Page 4 Of 4

:                    14.     Governing Law. This Agreement shall be governed by and construed in
:          accordance with the laws of the State of New York. The jurisdiction and venue for any legal
:          proceeding to interpret or enforce this Agreement shall be In the State of New York.

■                    15.     Arbitration. All disputes in connection with this Agreement or the execution
           thereof shall be settled through friendly negotiations. In the event that no settlement can be
!          reached within thirty (30) days of the Initial date of the dispute, either of the Parties may then
■          submit the dispute to the American Arbitration Association sitting In New York, New York and
           in accordance with the Commercial Rules of the AAA. All decisions of the arbitrator shall be
           final and binding upon both parties. Neither party shall seek recourse In a court of law or
           appeal to other authorities for relief. Arbitration costs shall be borne by the losing party.

                     16.     Facsimile Transmissions. Should this Agreement or any subsequent
           addendum be transmitted by facsimile or electronic mail, the signed facsimile document shall
           be considered as an original, both binding and enforceable. Further, this Agreement and/or
           any addendum hereto may be executed and delivered In multiple counterparts (via either hard
           copy, electronic mall or facsimile), and each counterpart so delivered that bears the signature
           of a party hereto shall be binding as to such party, and all counterparts together shall
           constitute the original. Any party delivering this Agreement, and/or an addendum hereto, by
           facsimile or electronic mail shall also forthwith deliver to the other party by an Internationally
           recognized courier service the counterpart of this Agreement and/or any addendum hereto
            that bears such party's original signature.

                      IN WITNESS WHEREOF, the parties hereto (or their duly authorized representatives)
            have affixed their signature on the date set forth below.

            Accepted by:                                             Accepted by:
            INTERESTED PARTY                                         MELLAND GROUP, U.C

            Name: Aiwflrt Properties, Inc.




             By:       Bernd H.Weber                                  By:     _
             Title     fFO                                           Title
             Date: December 27, 2006                                  Date:       !]_"?./ o.l.




               Initials.        . (Interested Party)                                     I^'als -£1- ("« Company)




                                                                                                 Exhibit C, Page 4
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j                                 CONFIDENTIALITY AND NON-UTILIZATION AGREEMENT
I ■
!                                   THIS CONFIDENTIALITY AND NON-UTILIZATION AGREEMENT (this
                             "Agreement"), dated as of _February 12_, 2007_, (the "Effective Date") is made by and
j                            between Melland Group, IXC, an Oregon limited liability company located at P.O. Box 3622,
j                            Hlllsboro, OR 97123 (che "Company") and


•            -                         Name:               TlmeData Corp.

                                       Address:             845 Third Avenue - 6th Floor

                                       aty, State, Zip:     New York. NY 10022-6601


                             (the "Interested Party") with reference to the following:

                                                                         RECITALS

                                     WHEREAS, the Interested Party Is Interested in exploring certain financing vehicles
                             ("Products") created by the Company and the Company wishes to disclose to the Interested
                             Party a minimum of proprietary Intellectual property assets Including, but not limited to,
                             pending patents, trade secrets, systems, methods and processes In financial engineering,
                             trust-linked banking, hedge fund development and operation and various other finance-related
                             or profit generation activities that belong to the Company or to third-party Inventors (the
                             "Technology") as requested In writing by the Interested Party to satisfy Its own diligence of
                              said Company Products; and

                                    WHEREAS, In order to conduct such discussions and any subsequent negotiations
                              between the parties, the Company may disclose Confidential Information to the Interested
                              Party (as defined herein) and only after explicit Initiation/request in writing of such disclosure
                              by the Interested Party;

                                     NOW, THEREFORE, for and In consideration of the foregoing premises, and the
                              mutual promises and undertakings contained herein, the parties hereto agree as follows:

                                                                         AGREEMENT

                                       1.      Definitions.

                                               1.1     "Confidential Information," as used herein, shall mean Information
                               of, entrusted to or In the possession of the Company and disclosed to the Interested Party by
                               the Company or any third party for or on behalf of the Company, orally or In writing, and
                               which Is not generally made available to the public at large, including but not limited to the
                               concepts and business practices underlying the Technology and any potential related services
                              . (hereinafter jointly referred to as the "Program") and all plans and proposal relating to the
                               Program, all Program-related contracts, forms and procedures, all Program-related vendor
                               relationships, financial data, costs, margins, software, computer programming, mailing or
    '                          other marketing lists, customer lists, sources, of supply, information concerning employees,
                               any advertising, promotion products or any other Information of a proprietary or non-public
    1    •                  - nature. Confidential Information specifically related to the Technology shall also Include
                               Information of the Company's of a strategic, financial, technical, research, marketing,
                               operational and/or performance nature, and shall further Include trade secrets, roll-out and
                               implementation plans, cost know-how, pricing methodology, projections, software design,
    ■                          computer systems, demonstration programs, routines, algorithms, data systems and
    '                           databases, techniques, methodologies, designs, procedures, formulas, Inventions, discoveries,
    !                           Improvements, concepts, records, files, memoranda, reports, drawings, diagrams, charts, data
    :                           tables, plans, customer lists, Information relating to past, present, and/or future clients,
    j            :              information relating to any research, development, business activities and strategic
    ;                           development plans.


     I
                                Initials jLtirilnterested Party)                                    Initials W_ (the Company)




                                                                                                        Exhibit D, Page 1
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       Reciprocal Confidentiality & Non-Utlllzatlon Agreement                                Page 2 of 4

                       1.2    "Reasonable Care" as used herein shall mean the same degree of
       care exercised by any prudent person with respect to information of a highly sensitive nature.

               2.        Obligations of Interested Party. The parties agree that the Interested Party
       as recipient of Confidential Information shall upon receipt and thereafter:

                       2.1    Use Reasonable Care to maintain the confidentiality of such
       Confidential Information and limit Its disclosure to such of Its directors, officers, employees or
       representatives as have a need to know such Confidential Information In order to evaluate
        and, If appropriate, Implement the Company's participation In the Program;

                      2.2     Require its directors, officers, employees or representatives to execute
        an agreement with provisions similar to this Agreement;

                        2.3    Not duplicate or distribute the Confidential Information for any purpose
        other than as provided In Section 2.1 above;

                         2.4     Not use any Confidential Information for any purpose without the prior
        written approval of the Company;

                         2.5      Nat discuss or disclose Confidential Information except as authorized
        by this Agreement or except as expressly authorized by the Company;

                        2.6     Not disclose to third parties that it has possession of any of the
        Confidential Information, or disclose to third parties that It is contemplating participation in the
        Program; and

                        2.7    Not contact, without the Company's prior written consent, any
        employees of or consultants to, the Company, or any other third party, Including any vendors
        or the Company, to discuss any Confidential Information. (Nothing herein shall prevent the
        Interested Party from contacting the representative of the Company with questions on
         Confidential Information.)                  ■

                 3.       Term of Agreement. The term of this Agreement Is five (5) years from the
         Effective Date. All of the provisions of this Agreement shall survive the return of the
         Confidential Information to the Company pursuant to Section 5.

                4.      Exceptions to Interested Party's Obligations. The obligations of the
         Interested Party under this Agreement shall not apply to Confidential Information of the
         Company to the extent it is:

                         4.1     Information that Is available or becomes available to the general public
         without restriction through no wrongful act or omission of the Interested Party;

                           4.2     Information received From a third party having the right to transfer
         said Information;

                           4.3     Information that Is Independently developed by the Interested Party
         without reference to Confidential Information; or

                          4.4    Disclosed pursuant to a subpoena or order of a court, agency or
          government authority of competent Jurisdiction which Is binding on the Interested Party
          provided that the Interested Party shall, to the extent permitted thereunder, Immediately
          notify the Company of and permit the Company to contest any such subpoena or order.

                    5.     Return of Confidential Information. Upon request of the Company, the
          Interested Party shall Immediately return to the Company any and all tangible material
          containing Confidential Information, Including any copies thereof and shall represent and
          warrant that all such documents have been returned. The Interested Party shall make no
          further use or disclosure of any Confidential Information.




           Initials _£dllnterested Party)                                        Initials      (the Company)




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                           6.      Non-Utilization. Both parties acknowledge and agree that they have not
                   been given permission by the other party to utilize any Confidential Information in any way,
                   Including, but not limited to, Implementing the Program or developing any product or service
                   substantially similar to the Program and that any right to utilize the Confidential Information In
                   providing services and/or products to third parties shall only be pursuant to a subsequent
                   written agreement of the parties. Neither this Agreement nor the transfer of any Information
                   hereunder. shall be construed as granting by Implication, estoppel, or otherwise, any rights to
                   the Technology.                              '

                           7.      Warranties. The Company warrants that It has the right to disclose to the
                   Interested Party Confidential Information under the terms and conditions of this Agreement
                   and that to do so does not violate any obligations to any third party. ALL OTHER WARRANTIES
                   ARE DISCLAIMED, INCLUDING THAT ANY INFORMATION IS FtT FOR A PARTICULAR PURPOSE
                   OR MERCHANTABLE. Without limiting the preceding sentence, the parties make no warranty as
                   to the accuracy or completeness of any Information, which may be provided. The Interested
                   Party shall rely solely on Its own analysis and expertise In determining whether to proceed
                   with any transaction to which such Information may pertain. None of the Information which
                   may be disclosed regarding the'Technology shall constitute any representation, warranty,
                   assurance, guarantee, or Inducement of any kind, and. In particular, with respect to the non-
                   infringement of licenses, patents, trademarks, copyrights, trade secrets or any Intellectual
I   :               property rights, or other right of third persons.
                            8.          Limitation of Liabilities. The Company shall not provide the Interested Party
                    with its only copy of the Confidential Information. In the event Confidential Information Is lost,
                    damaged, stolen or destroyed while In possession or control of the interested Party, the
                    Interested Party shall not be responsible for the costs of re-creating such Confidential
|                   Information.

i                            9.         Incorporation of Confidential Information In Other Documents. In the
                    event that Confidential Information shall be Incorporated Into other documents, whether
                    separately or jointly generated by the parties, such other documents shall to the extent of
                    such Confidential Information be deemed Confidential Information subject to the terms of this
        ■           Agreement.

        |                   10.     Inlunctlvo Relief. The Interested Party acknowledges that the Confidential
        :            Information has been developed by the Company with substantial effort and at substantial
        ;            cost and, therefore, has value to the Company; and that breach of any or the provisions or this
                     Agreement could cause the Company irreparable Injury for which no adequate remedy at law
                     exists. Accordingly, the Company shall have the right, in addition to any other rights It may
                     have and, by executing this Agreement, the Interested Party hereby, consents, to the entry in
                     any court having jurisdiction of a temporary or permanent restraining order or Injunction
                     restraining or enjoining the Interested Party from any violation of this Agreement. The
                     Interested Party further agrees to waive, and to use Its best efforts to cause its directors,
                     officers, employees and agents to waive, any requirement for the securing or posting of any
                     bond In connection with such remedy.                       '         .

                              11.        Modification. This Agreement may only be modified In writing executed by
                     both parties.


                             12.     Governing Law. This Agreement shall be governed by and construed in
                      accordance with the laws of the State of New York. The jurisdiction and venue for any legal
                      proceeding to interpret or enforce this Agreement shall be In the State of New York.

                                  13.     Arbitration. All disputes In connection with this Agreement or the execution
                      thereof shall be settled through friendly negotiations. In the event that no settlement can be
                      reached within thirty (30) days or the Initial date of the dispute, either of the Parties may then
                      submit the dispute to the American Arbitration Association CAM") sitting In New York, New
                      York and In accordance with the Commercial Rules of the AAA. All decisions of the arbitrator
                       shall be final and binding upon both parties. Neither party shall seek recoursejn a court of



                       Initials     f^flnterested Party)                                      Initials     (the Company)




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        law or appeal to other authorities for relief. Arbitration costs shall be borne by the losing
        party.

                   14.     Facsimile Transmissions. Should this Agreement or any subsequent
        addendum be transmitted by facsimile or electronic mall, the signed facsimile document shall
        be considered as an original, both binding and enforceable. Further, this Agreement and/or
        any addendum hereto may be executed and delivered In multiple counterparts (via either hard
        copy, electronic mall or facsimile), and each counterpart so delivered that bears the signature
        of a party hereto shall be binding as to such party, and all counterparts together shalt
        constitute the original. Any party delivering this Agreement, and/or an addendum hereto, by
        facsimile or electronic mall shall also forthwith deliver to the other party by an Internationally
        recognized courier service the counterpart of this Agreement and/or any addendum hereto
        that bears such party's original signature.

                   IN WITNESS WHEREOF, the parties hereto (or their duly authorized representatives)
         have affixed their signature on the date set forth below.

         Accepted by:                                            Accepted by:
         INTERESTED PARTY                                        MELLAND GROUP, LLC


         Name: TIMEDAT              RP.




         By:        Pa                                           By.   Robert M. West

         Title      President/COO                                Title President

          Date:     Feb 12 2007                                  Date: Feb 13,2007




          Paul

           Date:     Feb 12 2007




            Initials     t^_ (Interested Party)'                                   Initials     (the Company)




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       CONFIDENTIALITY, NON-DISCLOSURE AND NON-UTILIZATION
                                              AGREEMENT


      THIS CONFIDENTIALITY, NON-DISCLOSURE, AND NON-UTILIZATION AGREEMENT
      (this "Agreement"), dated as of October 29, 2007, (the "Effective Date") is made by and
      between Melland Group, LLC, an Oregon limited liability company located at 6700 SW
      Sandburg Road, Tigard, OR 97223 (the "Company") and


                Name:                  American Gulf Finance Corporation

                Address:               P.O. Box 613, Kingstown, St. Vincent & the Grenadines

                                       c/o Weber, Krapp & Kollegen Steuerberatungsgesellschaft mbH

                                       Bahnhofstrasse 18

                City, State, Zip:      D-59929 Briton, Germany


       (the "Interested Party") with reference to the following:

                                                   RECITALS

                WHEREAS, the Company wishes to disclose to the Interested Party certain proprietary
       intellectual property and business processes (the "Technology") that includes, amongst other
       things, patent-pending systems and methods that pertain to: (a) a new type of Trust-Linked
       Banking" technoiogy that incorporates a Debit Card product that pays a trust dividend on
       investments of the trust known as a "Trust-Linked Debit Card"; (b) a full-featured banking by
       cell phone system designed to protect cardholders Identity and card transactions against fraud
       while allowing banking transactions to occur Instantly via a cell phone; and (c) various other
       finance.-related or profit generation activities, pending patents, trade secrets and proprietary
       systems, methods and processes belonging to the Company or to third-party inventors; and

               WHEREAS, In order to conduct such discussions and any subsequent negotiations
       between the parties, the Company may disclose Confidential Information (as defined herein)
       to the Interested Party;

              NOW, THEREFORE, for and in consideration of the foregoing premises, and the
       mutual promises and undertakings contained herein, the parties hereto agree as follows:

                                                   AGREEMENT


               1.       Definitions.

                        1.1       "Confidential Information," as used herein, shall mean information
       of, entrusted to or in the possession of the Company and disdosed to the Interested Party by
       the Company or any third party for or on behalf of the Company, orally or in writing, and
       which is not generally made available to the public at large, including but not limited to the
        concepts and business practices underlying the Technology and any potential related services
        (hereinafter jointly referred to as the "Program") and all plans and proposal relating to the
        Program, all Program-related contracts, forms and procedures, all Program-related vendor
        relationships, financial data, costs, margins, software, computer programming, mailing or
        other marketing lists, customer lists, sources of supply, information concerning employees,
        any advertising, promotion products or any other information of a proprietary or non-public
        nature. Confidential Information specifically related to the Technology shall also include
        information of the Company's of a strategic, financial, technical, research, marketing,
        operational and/or performance nature, and shall further include trade secrets, roll-out and
        implementation plans, cost know-how, pricing methodology, projections, software design,
        computer systems, demonstration programs, routines, algorithms, data systems and
        databases, techniques, methodologies, designs, procedures, formulas, inventions, discoveries,
        improvements, concepts, records, files, memoranda, reports, drawings, diagrams, charts, data
        tables, plans, customer lists, information relating to past, present, and/or future clients,

        Initials _U»_ (Interested Party)                                   lnltialsf*tfwrthe Company)




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      information relating to any research, development, business activities and strategic
      development plans.

                      1.2    "Reasonable Care" as used herein shall mean the same degree of
      care exercised by any prudent person with respect to information of a highly sensitive nature.

              2.       Obligations of Interested Party. The parties agree that the Interested Party
      as recipient of Confidential Information shall upon receipt and thereafter:

                         2.1      Use Reasonable Care to maintain the confidentiality of such
      Confidential Information-and limit its disclosure to such of its directors, officers, employees or
      representatives as have a need to know such Confidential Information In order to evaluate
      and, if appropriate, Implement the Company's participation in the Program;

                          2.2     Require its directors, officers, employees or representatives to execute
          an agreement with provisions similar to this Agreement;

                          2.3    Not duplicate or distribute the Confidential Information for any purpose
          other than as provided in Section 2.1 above;

                          2.4     Not use any Confidential Information for any purpose without the prior
          written approval of the Company;                            •

                          2.5     Not discuss or disclose Confidential Information except as authorized
          by this Agreement or except as expressly authorized by the Company;

                          2.6     Not disclose to third parties that it has possession of any of the
          Confidential Information, or disclose to third parties that It Is contemplating participation in the
          Program; and

                           2.7     Not contact, without the Company's prior written consent, any
          employees of or consultants to, the Company, or any other third party, Including any vendors
          or the Company, to discuss any Confidentiai Information. (Nothing herein shall prevent the
          Interested Party from contacting the representative of the Company with questions on
           Confidential Information.)

                   3.      Term of Agreement. The term of this Agreement is five (5) years from the
           Effective Date. All of the provisions of this Agreement shall survive the return of the
           Confidential Information to the Company pursuant to Section 5.

                   4.     Exceptions to Interested Party's Obligations. The obligations of an
           Interested Party under this Agreement shall not apply to Confidential Information of the
           Company to the extent it is:

                           4.1     Information that is available or becomes available to the general public
           without restriction through no wrongful act or omission of the Interested Party;

                            4.2     Information received from a third party having the right to transfer
           said information;

                            4.3     Information that is independently developed by the Interested Party
           without reference to Confidential Information; or

                            4.4     Disclosed pursuant to a subpoena or order of a court, agency or
            government authority of competent jurisdiction which is binding on the Interested Party
      •     provided that the Interested Party shall, to the extent permitted thereunder, immediately
            notify the Company of and permit the Company to contest any such subpoena or order.

                    5.      Return of Confidential Information. Upon request of the Company, the
            Interested Party shall immediately return to the Company any and all tangible material



            Initials   Vff (Interested Party)                                     Initlals£S!!2f (the Company)




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           containing Confidential Information, including any copies thereof and shall represent and
           warrant that all such documents have been returned. The Interested Party shall make no
           further use or disclosure of any Confidential Information.

                  6.      Non-Utilization. Both parties acknowledge and agree that they have not
           been given permission by the other party to utilize any Confidential Information in any way,
           including, but not limited to, implementing the Program or developing any product or service
           substantially similar to the Program and that any right to utilize the Confidential Information in
           providing services and/or products to third parties shall only be pursuant to a subsequent
           written agreement of the parties. Neither this Agreement nor the transfer of any information
           hereunder, shall be construed as granting by implication, estoppel, or otherwise, any rights to
           the Technology.

                   7.       Warranties. The Company warrants that it has the right to disclose to the
           Interested Party Confidential Information under the terms and conditions of this Agreement
           and that to do so does not violate any obligations to any third party. ALL OTHER WARRANTIES
           ARE DISCLAIMED, INCLUDING THAT ANY INFORMATION IS FIT FOR A PARTICULAR PURPOSE
           OR MERCHANTABLE. Without limiting the preceding sentence, the parties make no warranty as
           to the accuracy or completeness of anylnformation, which may be provided. The Interested
           Party shall rely solely on its own analysis and expertise In determining whether to proceed
           with any transaction to which such Information may pertain. None of the information which
           may be disclosed regarding the Technology shall constitute any representation, warranty,
           assurance, guarantee, or Inducement of any kind, and, in particular, with respect to the non-
           infringement of licenses, patents, trademarks, copyrights, trade secrets or any intellectual
            property rights, or other right of third persons.

                     8.        Limitation of Liabilities. The Company shall only provide the Interested
            Party with copies, not originals, of the Confidential Information. In the event Confidential
            Information is lost, damaged, stolen or destroyed while In possession or control of the
            Interested Party, the Interested Party shall not be responsible for the costs of re-creating such
            Confidential Information.

                   9.       Incorporation of Confidential Information in Other Documents. In the
            event that Confidential Information shall be Incorporated Into other documents, whether
            separately orjolntly generated by the parties, such other documents shall to the extent of
j           such Confidential Information be deemed Confidential Information subject to the terms of this
i
            Agreement.

                         10.   Injunctive Relief. The Interested Party acknowledges that the Confidential
            Information has been developed by the Company with substantial effort and at substantial
            cost and, therefore, has value to the Company; and that breach of any of the provisions of this
            Agreement could cause the Company irreparable injury for which no adequate remedy at iaw
            exists. Accordingly, the Company shall have the right, In addition to any other rights It may
            have and, by executing this Agreement, the Interested Party hereby consents, to the entry in
            any court having jurisdiction of a temporary or permanent restraining order or injunction
            restraining or enjoining the Interested Party from any violation of this Agreement. The
            Interested Party further agrees to waive, and to use its best efforts to cause its directors,
            officers, employees and agents to waive, any requirement for the securing or posting of any
            bond in connection with such remedy.

                         11.    Damages. Any breach of this agreement by the Interested Party shall render
             the Interested Party liable to the Company for liquidated damages in the amount of ten
             thousand ($10,000) dollars per breach. The Company shall have the right to seek either
             remedy provided in Section 10 or Section 11.

                         12.    Modification. This Agreement may only be modified in writing executed by
             both parties.      '

                         13.    Attorney Fees. In any proceeding to enforce or interpret any of the terms of
             this Agreement, the prevailing party shall be entitled to recover its costs and attorneys fees.




              Initials     Wf, (Interested Party)                                Initials£ff**f(the Company)
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             14.     Governing Law. This Agreement shall be governed by and construed In
      accordance with the laws of the State of New York. The jurisdiction and venue for any legal
      proceeding to interpret or enforce this Agreement shall be in the State of New York.

              15.     Arbitration. All disputes in connection with this Agreement or the execution
      thereof shall be settled through friendly negotiations. In the event that no settlement can be
      reached within thirty (30) days of the initial date of the dispute, either of the Parties may then
      submit the dispute to the American Arbitration Association sitting in New York, New York and
      in accordance with the Commercial Rules of the AAA. All decisions of the arbitrator shall be
      final and binding upon both parties. Neither party shall seek recourse in a court of law or
      appeal to other authorities for relief. Arbitration costs shall be borne by the losing party.

                16.        Facsimile Transmissions. Should this Agreement or any subsequent
      . addendum be transmitted by facsimile or electronic mall, the signed facsimile document shall
        be considered as an original, both binding and enforceable. Further, this Agreement and/or
        any addendum hereto may be executed and delivered in multiple counterparts (via either hard
        copy, electronic mail or facsimile), and each counterpart so delivered that bears the signature
        of a party hereto shall be binding as to such party, and all counterparts together shall
        constitute the original. Any party delivering this Agreement, and/or an addendum hereto, by
        facsimile or electronic mail shall also forthwith deliver to the other party by an internationally
        recognized courier service the counterpart of this Agreement and/or any addendum hereto
        that bears such party's original signature.

              IN WITNESS WHEREOF, the parties hereto (or their duly authorized representatives}
       have affixed their signature on the date set forth below.

       Accepted by:                                                    Accepted by:

       AMERICAN GUI* FINANCE CORPORATION                               MELLAND GROUP, LLC




        By:         Bernd/H. Weber                             By:     Robert M. West

        Title       Chairrjian                                 Title    President

        Date:       October 29, 2007                           Date: October 29, 2007




         Initials            (interested Party)                                       Initial:    (the Company)




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                                                     CONSULTING AGREEMENT



                           CONSULTING AGREEMENT (this "Agreement"), effective as of November 6, 2007, by
                     and between Alvlon Properties, Inc., Suite Two-Twenty-Two, South Main, Harrlsburg, Illinois
                     62946, (the "Company"), and MELLAND GROUP, LLC, having its offices at 6700 SW
                     Sandburg Street, Tigard, Oregon 97223 (the "Consultant").

                            WHEREAS, Consultant is a holding company with a portfolio of intellectual property
                     pending patents (US and international) acquired through assignment and/or exclusive
                     licensing. These financial patents offer revolutionary and innovative structures, strategies
                     and products to the banking and finance industries and the investment community at large.
                     Consultant's current portfolio of 18 pending patents (the "Technology") are grouped into
                     four broad patent families that include more than 160 original claims that are likely to result -
                     in dozens of Individual patents issued to the inventor.

                            WHEREAS, the Company recognizes that Consultant possesses unique capabilities
                     and financial structuring solutions that can contribute to the growth and success of the
                     Company and the Company desires to secure the benefits of the Consultant's advisory
                     services to the Company for the purpose of maximizing the effectiveness of business
                     applications that make use of the Technology;

                            WHEREAS, the Company on December 27, 2006 executed a Confidentiality Non-
                     Disdosure Agreement (the "CNDA") with Consultant which Is made an integral part of this
                     Agreement;

                            NOW, THEREFORE, In consideration of the premises and the respective covenants and
                      agreements of the parties herein contained, and intending to be legally bound hereby, the
                      parties hereto agree as follows:

                      1) Consulting.  The Company hereby agrees to hire the Consultant, and the Consultant
                      hereby agrees to perform certain advisory services for the Company, on the terms and
             !        conditions set forth herein.

                      2) Term. The term of advisory services of the Consultant by the Company hereunder shall
                      commence as of the date hereof (the "Effective Date"), and such initial term shall end on
                      November 5, 2008, but shall be automatically extended unless sooner terminated as
I                     hereinafter provided. Commencing on November 6, 2008, and on each anniversary
                      thereafter (each such date an "Anniversary Date"), the term of the Consultant's advisory,
                      services shall automatically be extended for one additional year, unless the Company has
                      given not less than 30 days notice immediately preceding an Anniversary Date (a "Non- ■
                      renewal Notice") to the Consultant that it does not wish to extend the Term. References
                      herein to the "Term" of this Agreement shall refer to both the initial term and any extended
j    "   '            term hereunder. Notwithstanding the expiration of the Term or other termination of this
I                     Agreement, the provisions of the CNDA and Sections 3(c), 4(c), 7, 8 and 15 hereof shall
                      survive the termination or expiration thereof.

                       3) Nature of Advisory Services.

i                             a) Positions and Duties.   The Consultant shall provide consultative services to the
 j                     Company and Consultant's principals, Allain de la Motte, Robert West and/or their
                       associates, shall provide advisory services, as Advisory Directors to the Company, as would
                       be similarly provided by a Director of the Company. Nothing contained in or inferable from
                       this Agreement or Consultant's role with the Company or any of its subsidiaries, affiliates or
                       New Business Models shall be construed to prevent Consultant from owning an interest in,




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                Melland Group, LLC & Alvion Properties, Inc.



                granting licenses of its proprietary intellectual property assets in, or performing services,
                including, but not limited to, acting as a director and/or officer, with respect to any other
                business venture or third-party entity.

                       b) Advisory & Consultino Services. The services to be provided by Consultant to
                Company shall include, but are not limited to, the conceptual development of a new business
                models, financial structures and investment methods (together referred to as the "New
                Business Models") by which the Company will be able to create a means of funding its own
                projects with minimal vat-rlsk" capital. The core strategy of the New Business Models will
                rest on the principal of aggregation of funds in a unit participation trust structure managed
                by a trustee to aggregate cash and/or illiquid equity or assets (e.g. equity in minerals that
                can then be leveraged) and an investment technology that will produce a return on
                investment that is greater than the cost of money, it being understood that the marketing .of
                such New Business Models by the Company will be to:

                Specific services to be provided by Consultant shall be, but not limited to:

                    1)      Development of a master plan for New Business Models and structures that
                            capture opportunities presented by the company or the Consultant.
                    2)      Development of term sheets and structures for New Business Models that make
                             use of components of the Technology.
                    3)       Development of legal structures or a trust-directed Hedge Fund that include
                             amongst other things a unit participation trust.
                    4)       Introduction of the Company to Consultant's strategic partners including
                             Institutional trustees, custodial banks, asset managers, law firms, potential joint-
                             venture partners, and third-party advisors, consultants and service providers to
                             the New Business Models.
                     5)      Negotiation of agreements with third-party lenders, banks, insurers, rating
                             agencies and service providers to the New Business Models.
                     6)      Assistance with Securities and Exchange Commission filings If necessary.
    :                7)      Facilitation of legal representation for each New Business Model opportunity.
                     8)      Development of legal documents in conjunction with and/or through independently
                             appointed legal counsel, including but not limited to the preparation of private
                             placement memorandums or disclosure documents.
    :                9)      Assistance in the Development of marketing plans for the launch of New Business
                             Models.
                     10)     Negotiations of strategic alliances as and when required.
                     11)     Management of the investment and/or oversight of registered asset managers
                             hired to manage the investment of the cash pools generated by the New Business
                             Models.

                           The strategy for all New Business Models shall include amongst other things the
|                application of certain components of Consultant's Technology made available to the
I                Company as defined below in section 3 (d).

        ■                  c) Indemnification.    To the fullest extent permitted by law, the Company shall
        ;        indemnify Consultant and its respective employees, directors, members, associates, agents
        :        and representatives for all amounts (including, without limitation, judgments, fines,
                 settlement payments, losses, damages, costs and expenses, including reasonable attorneys'
                 fees) incurred or paid by the Consultant in connection with any action, proceeding, suit or
                 investigation arising out of or relating to the New Business Models and/or the performance


                  Initials (Company)      I U                                          Initials




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    Melland Group, LLC & Alvion Properties, Inc.



     by the Consultant of services for, or acting as a consultant or advisor to, the Company or
     any of its subsidiaries.

             c) Ownership. Neither this Agreement nor the transfer of any information, ideas,
     concepts, structures, term sheets, white papers, solutions, methods, products or system to
     the Company pursuant to the services provided by Consultant under this Agreement with
     respect of the New Business Models, shall be construed as granting by implication, estoppel,
     or otherwise, any rights to Consultant's Technology and or Consultant's rights to any new
     intellectual property. It is expressly agreed that any new Ideas, concepts and/or strategies
     developed by Consultant during the course of providing services to the Company under this
     Agreement ("New Technology") shall remain the exclusive property of Allaln de la Motte
     and/or Consultant as the case may be. Company hereby waives any rights or interest in any
     New Technology.

             d) License. Consultant (also referred to as "Licensor") agrees to grant one or more
     limited license/s (the MLicense/s") to any new Trust structure created for the Company to
     market the New Business Model/s ("Licensee"). The License/s shall be limited in scope as
     defined herein and shall cover any of the intellectual property patents (the "Patents") and
     trade secrets belonging to Allain L. de la Motte (the "Inventor") and for which Consultant
     has been granted the exclusive rights in the United States and that would, in the Consultant
     and the Inventor's sole joint opinion and discretion, further enhance the effectiveness and
     profitability of the New Business Models developed for the Company. It is expressly
     understood that the Patents of Inventor are still pending and there are no guarantees or
     warranties, actual or implied, given by the Consultant or the Inventor with respect of the
     likelihood that such patents will be or can be successfully prosecuted. Licensor agrees that
     the term of the License (the "Licensing Agreement"), when Issued, shall provide for the
      following terms and conditions:

              1. The License shall specifically include a right to use specific products or services
                 that result from patent claims of the Inventor that are deemed by Consultant to
                 operate the New Business Model.
              2. Each License shall be for an Initial term of five years from the date of the License.
              3. Each License shall be based on a licensing fee of $1,000 per annum payable
                   annually in advance.
              4.   Each License shall be on a non-exclusive basis.
              5.   Each License shall be for the geographical territory of the United States only.
              6.   Each License may contain restrictions and limitations imposed by Licensor with
                   respect of the channels of distribution, regional distribution, market segments or
                   the area of business applicable to the License.
              7. The total profit sharing payable to Consultant and/or Licensor under this
                 Agreement as well as the Licensing Agreement shall not exceed the sum of the
                 Profits due to Consultant under section 4 (c) below.
              8. Each License shall automatically terminate when this Agreement is terminated for
                   any reason whatsoever.

       4) Compensation and Related Matters.

               a) Initial Retainer and Licensing Fee.   Upon execution of this Agreement, upon
       presentation of an Invoice from Consultant, the Company shall pay or cause to be paid to
       Consultant a non-refundable one-time retainer and licensing fee of $101,000 (the
       "Retainer") for the engagement of Consultant whereupon Consultant shall provide
       consulting services to the Company pursuant to the terms and conditions of this Agreement.

       Initials (Company)                                                 Initials (ConsultantV^t/



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    Melland Group. LLC & Alvion Properties, Inc.            "




            b) Cpnsultlng Fee and Expenses. On the Effective Date of this Agreement, along
    with the Retainer Invoice, Consultant shall Invoice Company for a one-time consulting fee
    ("Consulting Fee") as well as anticipated related and other expenses, Including travel, for a
    total of $294,000. The Consultant shall not submit further invoices for consulting related
    expenses and travel expenses except by prior agreement with Company.

          Compensation of the Consultant by Company payment of this one-time fee shall not
    be deemed exclusive and shall not prevent the Consultant from participating in any other
    compensation or form of licensing arrangement from or with the Company.

           c) Profit Participation - Class "C Trust Notes.     Consultant/Licensor shall be entitled
    to receive a profit participation share equal to fifty percent (50%) of the pretax income
    ("Profits") earned by any unit participation trust created by the Consultant on behalf of the
    Company contemplated herein, whether such Profits are paid as dividends or held as
    retained earnings and whether paid in cash or in any other form or consideration (Trust
    Class "C" Notes, will be issued by the Trust, 50% to Company and 50% to Licensor).

    Consultant's Profit sharing entitlement hereunder shall be appiicabie for all pre-tax income
    over and above the Hurdle Rate of 12.0 % (twelve percent), paid to the Trust Class "A" Note
    Holders, and shall become due and payable no later than ten (10) business days following
    the close of each fiscal cycle (month or quarter as defined under both a Participation
    Agreement and a Trust Agreement). For purposes of this section, "Pretax Income" shall
    mean the pretax income of the unit participation trust created for the Company for the year,
    as reflected in the Trust's Statement of Income prepared in accordance with Generally
    Accepted Accounting Principles ("GAAP") and consistent with prior practice.

            d) Company Reimbursement - Class "B" Trust Notes.          The Trust Fiduciary shall
     issue to Company, Class "B" Trust Notes In US Dollar units which shall reflect the total
     payments made by the Company up and to the formation of the Trust, including all
     payments for Consultant's services and expenses, as well as other related expenses
     including those expended by Company prior to the execution of this Agreement (for the
     purpose of establishing ownership, valuation of assets, and other necessary due diligence
     information necessary to a Trust's launch) as well as legal, trustee, custodian, tax counsel,
     rating agency, etc, (the "Trust Formation Expenses"). The Class "B" Trust Notes shall be
     retired upon reimbursement to Company of two times the total Trust Formation Expenses
     paid by Company. The Consultant shall not object to the Trust Fiduciary retiring the Class
     "B" Trust Notes prior to making distributions to Consultant and Company for their respective
     Class WC" Trust Notes interest in the remaining Trust's investment profits earned in any fiscal
     cycle. Distributions from Trust investment profits for Class "A", Class "B", and Class "C" Note
      Holders will be defined in a Participation Agreement between Licensor and Company prior to
      the placement of assets of Company in the unit participation trust.



             e) Payment for Pre-Existing Support Material. Consultant has produced prior to the
     effective date of this Agreement, along with it's legal counsel, various legal document
     templates which may be modified or adapted to support the implementation of any New
      Business Model developed for the Company, and the Company agrees that Consultant may
      charge the Company a one time fee of $135,000 which represents no more that 50% of
      Consultant's original cost to develop the set of documents necessary to give effect to this
      New Business Model. Tbis amount shall be billed to Company only after Company's CFO and

      Initials (Company)    iifj                                         Initials (Consultant)Z§<^_



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           Consultant have met with Consultant's legal counsel in their New York City offices. It is
           expressly agreed that any work of Consultant to adapt or modify such material to a new
           Trust for the Company shall be billed the same amount billed Consultant by Its legal counsel.

                  f) Reimbursement- of Leoal Fees.       Any legal or other work produced by law firms
            providing support for the implementation and launch of a New Business Model may be paid
            by Consultant under a master service agreement with the service provider and invoiced back
            to the Company when supported by a copy of the invoice received by Consultant.
            Consultant shall obtain the prior written approval of the Company for any legal expenses
            that might be provided in connection with the New Business Models.

            5) Termination.      The Consultant's advisory services hereunder may be terminated without
            breach of this Agreement only under the following circumstances:

                   a) Termination bv Company hv Non-renewal Notice.        The Company may terminate
            Consultant's engagement: (i) at the end of the Term by providing Consultant with a Non-
            Renewal Notice pursuant to the requirements set forth in Section 2, or, (ii) at any time, upon
            receipt by the Consultant of the Company's written notice delivered by registered mail with
            return receipt requested that it is abandoning any and all plans to, directly or indirectly,
            execute the launch of the New Business Models developed by Consultant for the benefit of
            the Company.

                   bi Termination bv the Consultant: Change in Control.

    •                      I) The Consultant may terminate its advisory services hereunder for "Good
            Reason." For purposes of this Agreement, Consultant shall have "Good Reason" to terminate
            its advisory services hereunder: (a) upon a failure by the Company to comply with any
            material provision of this Agreement that has not been cured within ten business days after
            a notice of noncompliance has been given by the Consultant to the Company, or (b) for any
             reason whatsoever within one year following the occurrence of a Change In Control of the
             Company.

                              ii) For purposes of this Agreement, a "Change in Control" shall be deemed to
             have occurred if:

                            (1) any "person," as such term is used In Sections 13(d) and 14(d) of the
                     Securities Exchange Act of 1934,.as amended (the "Exchange Act") (other than (1)
                     any trustee or other fiduciary holding securities under an employee benefit plan of
                     the Company, or (2) any "person" beneficially owned, directly or indirectly, by the
                     stockholders of the Company in substantially the same proportion as their ownership
                     of shares), is or becomes the "beneficial owner" (as defined in Rule 13d-3 under the
                     Exchange Act), directly or indirectly, of securities of the Company representing more
                     than the combined Company stock holdings of 51% of the issued and outstanding
                     shares (or any affiliates thereof);

I                             (2) Allain de la Motte or Robert West cease to hold a non-executive, advisory
i                    director position on the Board of Directors with the entity established by the
i                    Company to market a New Business Model;

;                         (3) the stockholders of the Company approve a merger or consolidation of the
j                    Company or any entity created to implement the New Business Models with any other
I                    corporation; or

j             Initials (Company) _M_                 .                        ' Initials (Consultant)£^_


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                          (4) the stockholders of the Company approve a plan of complete liquidation of
                   the Company or any entity created to implement the New Business Models or enter
                   into an agreement for the sale or disposition by the Company of all or substantially
                   all of the Company's assets (or any transaction having a similar effect).

                   el Termination bv the Company after November 5. 2008 bv other than Non-Renewai
            Notice Required bv Section 2. The Company shall have the option after November 5, 2008
!           to terminate the Term of Consultant's advisory services by providing Consultant with at least
'           30 day's written notice of termination. This Agreement may not be terminated by the
:           Company prior to November 5, 2008, except for willful misconduct, fraud or gross
!           negligence of Consultant as finally adjudicated by a court of law.

                   d) Notice of Termination. Any termination of the Consultant's advisory services by
!           the Company or by the Consultant shall be communicated by written Notice of Termination
 ■      ■   to the other party hereto in accordance with Section 12 hereof. For purposes of this
 j          Agreement, a "Notice of Termination" shall mean a notice that shall Indicate the specific
 !          termination provision in this Agreement relied upon and shall set forth in reasonable detail
 :          the facts and circumstances claimed to provide a basis for termination of the Consultant's
             advisory services under the provision so indicated.

                    e) Date of Termination.   "Date of Termination" shall mean the later of the date
             allowed under the terms of this Agreement or, if within thirty (30) days after any Notice of
             Termination is given the party receiving such Notice of Termination notifies the other party
             that a dispute exists concerning the termination, the date on which the dispute is finally
             determined, either by mutual written agreement of the parties or by a binding and final
             arbitration award.

             6) Compensation upop Termination.

                    a) Termination bv the Company bv Non-Renewal Notice.             If the Company terminates
             Consultant's advisory services by providing a Non-renewal Notice pursuant to section 5 (a)
             hereof, then,

                            i) as soon as practicable thereafter, the Company shall pay the Consultant, all
                     unpaid amounts, if any, to which Consultant was entitled to under Section 4 hereof
                     through the Date of Termination and shall pay to the Consultant in accordance with
                     the terms of the applicable plan or program, all other unpaid amounts to which
                     Consultant was then entitled under fhe Consultant's Pro Rita Profit Participation, as
                     defined in Section 4 (b) hereof;

                           ii) the payment of Profits to Consultant shall survive the termination of this
                     Agreement for any reason whatsoever. The Company shall continue to pay Profits to
                     Consultant for the duration of any License, or Consultant's Beneficiary, as provided in
                     section 4(c) hereof as long as any New Business Models uses the Technology of the
                      Consultant or the Inventor;

                             iii) the Company shall reimburse the Consultant for costs and other expenses
                      Incurred by the Consultant (including attorneys' fees) in connection with its
                      termination, including costs and other expenses that may be incurred in enforcing its
                      rights hereunder.


               Initials (Company) _M__                                               Initials




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                               b) Termination for Good Reason.     If the Consultant terminates Its engagement for
                        Good Reason, then:

                                      i) the Company shall pay the Accrued Obligations and Pro Rata Profit
                               Participation to the Consultant at the time(s) set forth in Section 6(a}(t) hereof;

                                      ii) the Company shall reimburse the Consultant for costs and other expenses
                               incurred by the Consultant (including attorneys' fees) in connection with his
                               termination of advisory services, including costs and other expenses incurred In
                               enforcing its rights hereunder.

                                     Ill) the Company shall continue to pay Profits due Consultant so long as any
                               New Business Models of the Company uses the Technology of the Company or the
                               Inventor


                                c) Termination by the Company after November 5, 2008 other than bv Non-renewal
                         Notice Required bv Section 2.    If the Company terminates the Term of Consultant's
                         advisory services prior to the end of Consultant's Term pursuant to Section 5 (c), then:

                                       i) the Company shall pay the Accrued Obligations and Profit Participation
                                Bonus to the Consultant at the time(s) set forth in Section 6(a)(l) hereof;

    !                                  II) the Company shall reimburse the Consultant for costs and other expenses
                                incurred by the Consultant (including attorneys' fees) in connection with his
                                termination of advisory services, including costs and other expenses incurred in
                                enforcing its rights hereunder.                                    ,

    •                    7) Non-Disclosure of Proprietary Information.

        !                       a) For purposes of this Agreement, the term "Proprietary Information" includes all
        :                information concerning Consultant's Technology and respective parties trade secrets,
                         patents, pending patents, the identity and preference of Company's customers to the extent
                         that such information Is a valuable component of Company's and Consultant's business, Is
                         identified as proprietary and is not generally ascertalnable by parties unaffiliated with
                         Consultant and Company, which has been specifically addressed in the Confidentiality and
                         Non-Disclosure Agreement executed by Consultant and Company as of December 27, 2006.

                                b) Consultant and Company acknowledge and agree that, during the Term of this
                         Agreement, by reason of each parties respective position, each will have the opportunity and
                         obligation to become familiar with Proprietary Information belong to the other. Consultant'
                          and Company acknowledge and agree that the knowledge of the Proprietary information
                          compromises a valuable business asset of the Consultant and the Company. Each party
                          further acknowledges and agrees that Company intends to enhance the value of its own
i                         business through extensive investments in new business development efforts and Consultant
i                         will help accomplish this goal. Consultant and Company acknowledge and agree that both
|           .             parties have a legitimate interest in protecting Proprietary Information from
:                         misappropriation or diversion by either party.

|                         8) Non-competition.    During the term of this Agreement, provided Company has not
1               ■         breached or defaulted In the performance of any of its obligations to Consultant or Licensor,
                          Consultant shall not, directly or indirectly, either as an employee, employer, consultant,
                          agent, principal, partner stockholder (other than a publicly traded company), corporate

                          initials (Company)    ///?                                          Initials (Consultant)/^w_



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    Melland Group, LLC & Alvion Properties, Inc.



    officer, director, or in any other individual or representative capacity, engage or participate
    in any business that is in direct competition with the Company's current business as it
    existed at time of this Agreement, without the Company's prior written consent. Nothing
    contained herein shall however preclude Consultant from engaging in any business activity
    or investment whatsoever that pertains to, results from, or Is in connection with the
    development, licensing, launch, exploitation, utilization, development, operation or use of its
    intellectual property asset and any derivative products, processes, systems or methods
    resulting therefrom.

    9) Successors: Binding Agreement.


           a)    The Company will require any. successor (whether direct or indirect, by
    purchase, merger, consolidation or otherwise) to all or substantially all of the business
    and/or assets of the Company, by agreement in form and substance reasonably satisfactory
    to the Consultant, to expressly assume and agree to perform this Agreement in the same
     manner and to the same extent that the Company would be required to perform It if no such
     succession had taken place.

             b)     Failure of the Company to obtain such assumption and agreement prior to the
     effectiveness of any such succession shall be a breach of this Agreement and shall entitle the
     Consultant to compensation from the Company in the same amount and on the same terms
     as he would be entitled to hereiinder If he terminated his employment for Good Reason,
     except that for purposes of implementing the foregoing, the date on which any such
     succession becomes effective shall be deemed the Date of Termination. As used in this
     Agreement, "Company" shall mean the Company as herein before defined and any successor
     to its business and/or assets as aforesaid that executes and delivers the agreement provided
     for in this Section 11 or which otherwise becomes bound by all the terms and provisions of
     this Agreement by operation of law.

            c)     This Agreement and all rights of the Consultant hereunder shall Inure to the
     benefit of and be enforceable by the Consultant's legal representatives, executors,
     administrators, successors, heirs, legatees and assigns. If the Consultant ceases operation
     while any amounts are still due and payable to It under this Agreement, all such amounts,
     unless otherwise provided herein, shall be paid in accordance with the terms of this
     Agreement to the Inventor or his devisee, legatee, or trustee (any of which is referred to
     herein as a "Beneficiary").

      10) Notice.    For the purposes of this Agreement, notices, demands and all other
      communications provided for in this Agreement shall be in writing and shall be deemed to
      have been duly given when delivered or (unless otherwise specified) mailed by United States
      certified or registered mail, return receipt requested, postage prepaid, addressed as follows:

      If to the Company:

      Alvion Properties, Inc.
      c/o
      Weber, Krapp &. Kollegen Steuerberatungsgesellschaft mbH
      Bahnhofstrasse 18
      D-59929 Brilon
      Germany
      Attn: Bernhard H. Weber, Chief Financial Officer


      Initials (Company)        (I                                       Initials (Consultant)?^/


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j                          . Melland Group, LLC & Alvion Properties, Inc.



                            If to the Consultant:


                            Melland Group, LLC
                            6700 SW Sandburg Street
                            Tigard, Oregon 97223
                            Attn: Robert M. West, President

    ;                        or to such other address as either party may have furnished to the other in writing in
    I                        accordance herewith, except that notices of change of address shall be effective only upon
    j                        receipt. .

    I                        11) Miscellaneous.    No provisions of this Agreement may be modified, waived or discharged
    i                        unless such waiver, modification or discharge Is agreed to in writing signed by the
    I                        Consultant and such officer of the Company as may be specifically designated by the Board.
    '               .        No waiver by either party hereto at any time of any breach by the other party hereto of, or
                             compliance with, any condition or provision of this Agreement to be per formed by such
                             other party shall be deemed a waiver of similar or dissimilar provisions or conditions at the
        i                    same or at any prior or subsequent time. No agreements or representations, oral or
        I                    otherwise, express or implied, with respect to the subject matter hereof have been made by
                             either party which are not set forth expressly in this Agreement.


                             12) Validity. The invalidity or unenforceabllity of any provision or provisions of this
                             Agreement shall not affect the validity or enforceability of any other provision of this
                             Agreement, which shall remain in full force and effect.

         .                   13) Laws Applicable to Construction. The Interpretation, performance and enforcement of
         !                   this Agreement and all rights and obligations of the parties hereunder shall be governed by
            i                 the laws of the State of Oregon without regard to conflict of laws principles.

            i                 14) Arbitration.   Except as set forth in Section B(b) hereof, any dispute or controversy
            1                 arising under or in connection with this Agreement shall be settled exclusively by arbitration,
                              conducted before a panel of three arbitrators In the city of Portland, Oregon, or in such other
                              location as may be agreed upon by the parties, in accordance with the rules of the American
                ;             Arbitration Association then in effect; provided, however, that the Consultant shall be
                              entitled to seek specific performance of its right to be paid until the Date of Termination
                              pending the resolution of any dispute or controversy arising under or in connection with this
                              Agreement. The verdict rendered by the panel of arbitrators shall be final and binding and
                              may be enforced in any court of competent jurisdiction. In the event of a dispute, the
                              following procedures shall apply:

                                      (a)    A   written     notice   shall   be   sent   (by   registered    mail   with    return    receipt
                              requested) by the aggrieved Party to the Party in default, which shall include an explicit and
                              detailed statement of the dispute. The Party being served the notice shall have fifteen (15)
                              business days to respond in writing and/or to cure the default. If the Parties fail to resolve
                              the dispute within the fifteen business day period, the matter will be submitted to arbitration
                               as follows.

                                       (b)   The Parties agree that any controversy or claim arising out of or relating to
                               this Agreement or breach thereof, and which is not settled between the Parties, shall be
                               settled by arbitration in accordance with the rules of conciliation and arbitration of the
                               American Arbitration Association.    Arbitration proceedings shall be directed by three
                               arbitrators, one appointed by each Party and the third subsequently appointed by the first

                               Initials (Company)
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                                                                                                                                 "~~
                                                                                                             Initials (Consultant^




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    two arbitrators. The arbitrators for any arbitration proceeding referred to herein shall be
    chosen as follows: (a) one shall be chosen by the Party seeking arbitration, (b) one shall be
    chosen by the other Party hereto and (c) one shall be chosen by the two arbitrators selected
    hereunder. The arbitrators to be chosen by the Parties shall be chosen within 30 days of the
    service of a demand for arbitration on any of the Parties. If the two arbitrators appointed
    above shall not agree to the appointment of the third arbitrator to be appointed as provided
    herein, such third arbitrator shall be chosen by the then President of the Association of the
    Bar of the City of Portland, Oregon, subject to challenge by any party only by reason of a
    conflict of interest. The Parties agree to have the dispute arbitrated in accordance with said
    rules of arbitration. The arbitration proceedings shall be held in the City of Portland, Oregon,
    or any other location mutually agreed In writing by the Parties. Failure to appear, without a
    showing of good cause, shall entitle the other Party to an award.

            (c)   The decision and award made by the arbitrators shall include the award of all
     costs and expenses Including attorney's fees and expenses, incurred by the aggrieved Party
     as a result of the dispute. Any such award shall be paid to the prevailing Party by the
     unsuccessful Party within thirty (30) days after the award. In the event of circumvention,
     either directly or Indirectly, or any other dispute arising out of, or relating to this Agreement,
     the aggrieved Party shall be entitled to monetary compensation equal to the maximum fee,
     commission, remuneration, consideration, or benefit it would have received from such
     Transaction, and such other damages and relief as may be deemed appropriate. The sum
     allowed and relief granted shall he paid and become due and payable within the thirty (30)
     day period required for the payment of fees and expenses, unless otherwise specified in the
     arbitration decision. Settlement upon an award shall be final, and may be entered in any
     court of competent jurisdiction.

     15) Remedies. The Parties hereto agree that, in the event that a Party commits a breach, or
     threatens to commit a breach of this Agreement, the non-breaching Party shall have the
     following rights and remedies:

            a)      Each breaching Party hereby consents to a grant of an injunction restraining
     any violation or threatened violation of the terms of this agreement of the Confidentiality
     Agreement or any other appropriate decree of specific performance by any court having
     equity jurisdiction, It being acknowledged and agreed by each breaching Party hereto that
     the services rendered, and to be rendered by the non-breaching Party, pursuant to this
     Agreement are of a special, unique and extraordinary character and that any such breach or
     threatened breach will cause irreparable Injury to the non-breaching Party and that money
     damages will not provide an adequate remedy to the non-breaching Party; and

             b)      to require each breaching Party to account for and pay over to the non-
      breaching Party all compensation, profits, monies, accruals, increments or other benefits
      (collectively "Benefits") derived or received by each breaching Party as the result of any
      transactions constituting a breach of any of the provisions of this Agreement and the
      Confidentiality Agreement, and each breaching Party hereto hereby agrees to account for
      and pay over such Benefits to the non-breaching Party.

             Each of the rights and remedies enumerated in this Section 6.12 shall be independent
      of the other, and shall be severally enforceable, and such rights and remedies shall be in
      addition to, and not in lieu of, any other rights and remedies available at law or in equity.

       16) Entire Agreement. This Agreement sets forth the entire agreement of the parties hereto
       in respect of the subject, matter contained herein and supersedes any and all other prior

       Initials (Company)                                                  Initials




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    agreements, promises, covenants, arrangements, communications, representations or
    warranties, whether oral or written, by any officer, employee or representative of any party
    hereto; and any prior agreement of the parties hereto In respect of the subject matter
    contained herein is hereby terminated.

    17) Facsimile Copies and/or Counterparts: Should this Agreement or any subsequent
    Addendum be transmitted by facsimile or electronic mall, the signed facsimile of e-mail
    document shall be considered as an original, both binding and enforceable. Further, this
    Agreement and/or any Addendum hereto may be executed and delivered in multiple
    counterparts (via either hard copy, electronic mall or facsimile), and each counterpart so
    delivered that bears the signature of a Party hereto shall be binding as to such Party, and all
    counterparts together shall constitute the original. Any Party delivering this Agreement,
    and/or addendum hereto, by facsimile or electronic mail shall also forthwith deliver to the
    other Party by an internationally recognized overnight courier service the counterpart of this
    Agreement and/or any addendum hereto that bears such Party's original signature.

    18) Assignment of New Inventions. The Company hereby waives any rights, title and Interest
    in any new inventions that are developed as a result of the application of the Technology of
    Inventor to any New Business Model or work performed by Consultant for the Company
    pursuant to this Agreement. The Company hereby assigns to the Inventor or its designee,
    any and all rights, title, and interest in and to any and all improvements, new inventions,
    original works of authorship, developments, concepts, or trade secrets, whether or not
     patentable or registrable under copyright or similar laws, which it may conceive or develop
     or reduce to practice, or cause to be conceived or developed or reduced to practice, during
     the Term of this Agreement (collectively referred to as "Inventions").

     19) Assistance of Company. The Company agrees to assist Inventor, or its designee, at the
     Consultant's or Inventor's expense, In every proper way to secure the Inventor's rights in
     any Inventions, as well as any copyrights, trademarks, or other intellectual property rights
     relating thereto In any and all countries, including the execution of all applications,
     specifications, oaths, assignments and all other instruments which the Consultant or the
     Inventor shall deem necessary in order to apply for and obtain such rights and in order to
     assign and convey to the Inventor, its successors, assigns and nominees the sole and
     exclusive rights, title and interest in and to such Inventions, and any copyrights, patents, or
     other intellectual property rights relating thereto. The Company further agrees that its
     obligation to execute or cause to be executed, when it is in its power to do so, any such
     instrument or papers shall continue after the termination of this Agreement: The Company
     hereby irrevocably designates and appoints Inventor as its duly authorized agent and
     attorney in fact, to act for and on its behalf and stead to execute and file any such
     applications and to do all other lawfully permitted acts to further the prosecution and
     issuance of patent, trademark or copyright registrations thereon with the same legal force
     and effect as if executed by the Company.

      20) Headings. Paragraph headings contained in this Agreement are included for convenience
      only and are not part of the Agreement between the Parties;

                     THE REST OF THIS PAGE IS LEFT BLANK INTENTIONALLY




      Initials (Company)                                                 Initials




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    SIGNATURE PAGE



     IN WITNESS WHEREOF, the parties have executed this Agreement as of the date and year
     first above written.

     Alvion Properties', Inc.




         Bernhard HJ Weber, Chief Financial Officer



     Melland Group, LLC




         Robert M. West
         Title: Managing Member/President




      Read & Acknowledged




                                         Date: November 6, 2007
      Allain de la Motte, Inventor




       Initials (Company)                                             Initials




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                   CONFIDENTIALITY, NON-DISCLOSURE AND NON-UTILIZATION
                                                              AGREEMENT


                          THIS CONFIDENTIALITY, NON-DISCLOSURE, AND NON-UTIUZATION
                   AGREEMENT {this "Agreement"), dated as of January 24, 2008, (the "Effective Date") Is
                   made by and between Melland Group, LLC, an Oregon limited liability company located at
                   6700 SW Sandburg Road, Tigard, Oregon 97223 (the "Company") and


                             Name:                  Deloltte BtTouche LLP

                             Address:                 1W/16/42

                                                      1 World Financial Center

                              City, State, Zip:       New York, NY 10281-1003


                   (the "Interested Party") with reference to the following:

                                                                  RECITALS

                            WHEREAS, the Company wishes to discuss with the Interested Party the possibility of
                   the Interested Party providing certain services to the Company (the "Discussions"); and

                            WHEREAS, in order to conduct such Discussions , the Company may disclose
                    Confidential Information (as defined herein) to the Interested Party;

                            NOW, THEREFORE, and In consideration of the foregoing premises, and the mutual
                    promises and undertakings contained herein, the parties hereto agree as follows:

                                                                  AGREEMENT


                             1.        Definitions.

    1                                  1.1    "Confidential Information,* as used herein, shall mean information
    i              ■ of entrusted to, or In the possession of the Company and disclosed to the Interested Party by
    •               the company or any third party for or on behalf of the Company in connection with the
    '                Discussions, orally or in writing, and which Is not generally made available to the public at
                     large, including but not limited to the concepts and business practices of the Company and
                     any potentially related services (hereinafter jointly referred to as the "Program ) and all plans
                     and proposals relating to the Program, all Program-related contracts, forms and procedures,
                     all Program-related vendor relationships, financial data, costs, margins, software, computer
                     programming, mailing or other marketing lists, customer lists, sources of supply, information
                     concerning employees, any advertising, promotion products or any other information of a
                     proprietary or non-public nature. Confidential Information specifically related to the
                     Technology shall also include information of.the Company of a strategic, financial, technical;
                      research, marketing, operational and/or performance nature, and shall further include trade
                      secrets, roll-out and implementation plans, cost know-how, pricing methodology, projections,
                      software design, computer systems, demonstration programs, routines, algorithms, data
                      systems and databases, techniques, methodologies, designs, procedures, formulas,
                      inventions, discoveries, improvements, concepts, records, files, memoranda, reports,
                      drawings, diagrams, charts, data tables, plans, customer lists, information relating to past
i                     present, and/or future clients, information relating to any research, development, business
i                     activities and strategic development plans.

                                      1.2    "Reasonable Care" as used herein shall mean the same degree of
                      care exercised by any prudent person with respect to information of a confidential nature.
;                                 2.     Obligations of Interested Party. The parties agree that the Interested Party
:       :             as recipient of Confidential Information shall upon receipt and thereafter:



                       Initials
                                         (Interested Party)                               Initials _Z_ (the Company)




                                                                                               Exhibit G, Page 1
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                          2.1      Use Reasonable Care to maintain the confidentiality of such
        Confidential Information and limit its disclosure to such of its directors, officers, personnel,
        affiliates, related entitles or representatives (collectively, "Involved Parties") as have a need to
        know In connection with the Discussions;

                         2.2      Require Its Involved Parties who receive disclosures of the Confidential
        Information to abide by this Agreement, and sign It If the Involved Party is not an employee,
        partner, principal, affiliate or related entity of the Interested Party, and require all Involved
        Parties who leave the Interested Party's employ to return any and all Confidential Information,.
        provided that the Interested Party will be responsible for the disclosure, use or other
        treatment of Confidential Information by-any and all Involved Parties, and, In case there is a
        breach by any or all of the Involved Parties, the Interested Party will be liable to the
        Company;


                        2.3    Not duplicate or distribute the Confidential Information for any purpose
        other than as provided in Section 2.1 above;

                            2.4    Not use any Confidential Information for any purpose than provided for
        in 2.1 and 2.2 without the prior written approval of the Company;

                       2.5    Not discuss or disdose Confidential Information except as authorized
        by this Agreement or except as expressly authorized by the Company;

                            2.6    Except as required by law, rule or regulation or judicial or
        administrative process, not disdose to third parties that it has possession of any of the
        Confidentlal'lnformatlon, or disdose to same that It Is contemplating participation in the
         Program; and

                            2.7    Not contact, without the Company's prior written consent, any third
         party, including any vendors or the Company, to discuss any Confidential Information.
         (Nothing herein shall prevent the Interested Party from contacting the representative of the
         Company with questions on Confidential Information.)

                 3.      Term of Agreement. This Agreement and the obligations set forth herein
         shall continue until the earlier of (i) the parties' execution of an agreement for services In
         connection with the Discussions, or (II) five (5) years from the Effective Date.

                  4.        Exceptions to Interested Party's Obligations. The obligations of an
         Interested Party under this Agreement shall not apply to:

                         4.1     Information that is available or becomes available to the general public
         without restriction through no breach of this Agreement by the Interested Party;

                        4.2     Information received from a third party which the Interested Party
         reasonably believes has the right to transfer said information;

                         4.3      Information that is independently developed by the Interested Party
          without reference to Confidential Information; or

                             4.4    Disclosed pursuant to a subpoena or order of a court, agency or
          government authority of competent jurisdiction, or as required by law, rule or regulation,
          provided that the Interested Party shall, to the extent permitted thereunder, promptly notify
          the Company of and permit the Company to contest any such requirement.

                   S.        Return of Confidential Information. Upon written request of the Company,
          the Interested Party shall promptly return to the Company any and all tangible material
          containing Confidential Information, Including any copies thereof and shall confirm that all
          such documents have been returned. Upon such request, the Interested Party shall make no
          further use or disclosure of any Confidential Information.




           lnltials{r>- I    (Interested Party)                                 Initials NL       (the Company)




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               6.         Warranties. The Company warrants that it has the right to disclose to the
        Interested Party Confidential Information under the terms and conditions of this Agreement
        and that to do so does not violate any obligations to any third party. ALL OTHER WARRANTIES
        ARE DISCLAIMED, INCLUDING THAT ANY INFORMATION IS FIT FOR A PARTICULAR PURPOSE
        OR MERCHANTABLE. Without limiting the preceding sentence, the parties make no warranty as
        to the accuracy or completeness of any Information, which may be provided. The Interested
        Party shall rely solely on its own analysis in determining whether to proceed with any
        transaction to which such information may pertain.


                7.       Proposal.. The Company agrees that any proposal submitted by the
        Interested Party in connection with the Discussslons (the "Proposal") shall be used by the
        Company solely to evaluate the Proposal. The Company shall protect the Proposal from
        disclosure to third parties, exercising at least the same degree of care as the Company
        employs in maintaining as secret its own trade secret, proprietary and confidential
        information, but always at least a reasonable degree of care. The Company shall have no
        obligations of confidentiality with respect to any information, materials or. professional tax
        advice relating to tax services, tax transactions or the tax treatment of any tax structure or
        transactions as described In Rule 3501(c)(i) of Public Company Accounting Oversight Board
        Release 2005-014 and Internal Revenue Code sections 6011 and 6111 and related Internal
        Revenue guidance.

                8.      Incorporation of Confidential Information In Other Documents. In the
        event that Confidential Information shall be incorporated Into other documents, whether
        separately or jointly generated by the parties, such other documents shall to the extent of
        such Confidential Information be deemed Conridentlai Information subject to the terms of this
        Agreement.

                9.        Znjunctive Relief. The Interested Party acknowledges that it has been
        Informed that the Confidential Information has been developed by the Company with
        substantial effort and at substantial cost and, therefore, has value to the Company, and that
        breach of any or the provisions of this Agreement could cause the Company irreparable Injury
         for which no adequate remedy at law may exist. Accordingly, the Company shall have the
         right, in addition to any other rights it may have to seek the entry in any court having
         jurisdiction of a temporary or permanent restraining order or Injunction restraining or
         enjoining the Interested Party frpm any violation of this Agreement..

                 10.       Modification. This Agreement may only be modified In writing executed by
         both parties.

                 11.     Governing Law. This Agreement and matters connected with the performance
         thereof shall be construed, interpreted, applied and governed in all respects in accordance
         with the laws of the United States of America and the State of Oregon, without reference to
         conflict of laws principles.

                  12.     Jurisdiction. The Parties agree that all disputes and litigation regarding this
         Agreement and matters connected with its performance shall be subject to the exclusive
         jurisdiction of the courts of the State of Oregon in the United States of America or of the
         Federal courts sitting therein.

                    13.     Facsimile Transmissions. Should this Agreement or any subsequent
          addendum be transmitted by facsimile or electronic mall, the signed facsimile document shall
          be considered as an original, both binding and enforceable. Further, this Agreement and/or
          any addendum hereto may be executed and delivered in multiple counterparts (via either hard
          copy, electronic mall or facsimile), and each counterpart so delivered that bears the signature
          of a party hereto shall be binding as to such party, and all counterparts together shall
          constitute the original. Any party delivering this Agreement, and/or an addendum hereto, by
          facsimile or electronic mail shall also forthwith deliver to the other party by an Internationally
          recognized courier service the counterpart of this Agreement and/or any addendum hereto
          that bears such party's original signature.




          lnitials^-        . (Interested Party)                              initials^       (the Company)




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                                                                                                              4-
       Confidentiality, Non-Disclosure and Non-Utlllzatlon Agreement                                Page 4 of.S-'




                IN WITNESS WHEREOF, the parties hereto (or their duly authorized representatives)
       ' have afflxed their signature on the date set forth below.



        Accepted by:                                         Accepted by:

        INTERESTED PARTY                                      MELLAND GROUP, LLC


        Name:        Deloltte & Touche LLP




        By:      Robert Friedman                              By:      Robert West

        Title    Director                                     Title          d
        Date:    January 24, 2008                             Date: January 24, 2006




          Initials          (Interested Party)                                       Initials   \   (the Company)




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      BY HAND DELIVERY ONLY                                           December 20,2007


      Commerce Bank, c/o
      Messrs. Jose S. Cordero, Sr., Atco Manager
      Mr. Carlo Chinosi, Senior Manager, and
       Mr. Jim Pachelo, Senior Manager
       1701 Route 70 East, Cherry Hill, NJ 08034

       Re: CONFIDENTIALITY, MON-DISCLOSURE AND NON-UTILIZATION AGREEMENT


       Dear Gentlemen:


       In anticipation of further discussion, attached for your review please find our
       Confidentiality and Non-Disclosure Agreement (CNDA).

       As we believe our proprietary funding strategies can bring significant financial
       benefit and advantage to your institution, we have chosen to be very selective with
       respect to the financial institutions we are negotiating with regarding our financial
       engineering technologies.

       We very much look forward to engaging confidentially in further discussions.

       Sincerely,
       AGF/flealry Solutions LLC



                    Weber                       Donald C. Rishell
        MarJager                                Manager




            Tel.: BOg-5S7-BQ29 - Fa*: SOl-3lB-O7'SS
             Cell: S5S-577-2439 - Web; www.a-b-finance.cor


             21 Fountaiwe Court          Waterfqsd Works. NJ OBDS9422O2

                                                                                   V



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        CONFIDENTIALITY, NON-DISCLOSURE AND NON-UTILIZATION
        AGREEMENT


        THIS CONFIDENTIALITY, NON-DISCLOSURE, AND NON-UTILIZATION AGREEMENT
        (this "Agreement"), dated as of December 19, 2007, (the "Effective Date") Is made by and
        between AGF Realty Solutions LLC, located at 21 Fountaine Court, Waterford Works, N3
        08089-2202, a Delaware limited liability company, and Alvion Partners LUC, c/o Seward &.
        Kissel LLP, One Battery Park Plaza, New York, New York 10004, a Delaware limited liability
        company, (the "Company") and

                                Commerce Banoorp, Inc., Commerce Atrium
                                1701 Route 70 East, Cherry Hill, NJ 08034-5400


        (the "Interested Party") with reference to the following:

         RECITALS

                WHEREAS, the Company wishes to disclose to the Interested Party certain proprietary
         Intellectual property and business processes (the Technology") that includes, amongst other
         things, patent-pending systems and methods that pertain to various finance-related or profit
         generation activities, balance sheet enhancement technologies, pending patents, trade secrets
         and proprietary systems, methods and processes belonging to the Company or to third-party
         inventors; and

                WHEREAS, in order to conduct such discussions and any subsequent negotiations
         between the parties, the Company may dlsdose Confidential Information (as defined herein)
         to the Interested Party;

                NOW, THEREFORE, for and in consideration of the foregoing premises, and the
         mutual promises and undertakings contained herein, the parties hereto agree as follows:

         AGREEMENT

                 1.       Definitions.

                          1.1       "Confidential Information,' as used herein, shall mean information
          of, entrusted to or In the possession of the Company and disclosed to the Interested Party by
          the Company or any third party for or on behalf of the Company, orally or In writing, and
          which is not generally made available to the public at large, including but not limited to the
          concepts and business practices underlying the Technology and any potential related services
          (hereinafter jointly referred to as the 'Program") and all plans and proposals relating to the
          Program, all Program-related contracts, forms and procedures, all Program-related vendor
          relationships, financial data, costs, margins, software, computer programming, mailing or
          other marketing lists, customer fists, sources of supply, Information concerning employees,
           any advertising, promotion products or any other information of a proprietary or non-public
           nature. Confidential Information specifically related to the Technology shall also Include
           Information of the Company's of a strategic, financial, technical, research, marketing,
           operational and/or performance nature, and shall further include trade secrets, roll-out and
           implementation plans, cost know-how, pricing methodology, projections, software design,
           computer systems, demonstration programs, routines, algorithms, data systems and
           databases, techniques, methodologies, designs, procedures, formulas. Inventions, discoveries,
           improvements, concepts, records, files, memoranda, reports, drawings, diagrams, charts, data
           tables, plans, customer lists, Information relating to past, present, and/or future clients,
            Information relating to any research, development, business" activities and strategic
           development plans.

                           1.2       "Reasonable Care" as used herein shall mean the same degree oj
           care exercised by any prudent person with respect to Information of a highly ssoslbve naturej

           lniaals{£i£Ulnterested Party)                                    ***** #2Crithe Co




                                                                                 Exhibit H, Page 2
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           Reciprocal Confidentiality & Non-Utilization Agreement                                      Pa96 2 of 4

                   2.        Obligations of Interested Party. The parties agree that the Interested Party
           as recipient of Confidential Information shall upon receipt and thereafter:

                             2.1      Use   Reasonable     Care     to   maintain   the   confidentiality   of   such
i          Confidential Information and limit its disclosure to such of Its directors, officers, employees or
           representatives as have a need to know such Confidential Information In order to evaluate
           and, If appropriate, Implement the Company's participation In the Program;

                             2.2      Require its directors, officers, employees or representatives to execute
           an agreement with provisions similar to this Agreement;

                           2.3    Not duplicate or distribute the Confidential Information for any purpose
           other than as provided in Section 2.1 above;

                             2.4       Not use any Confidential Information for any purpose without the prior
           written approval of the Company;

                           2.5    Not discuss or disclose Confidential Information except as authorized
            by this Agreement or except as expressly authorized by the Company;

                              2.6      Not disdose to third parties that it has possession of any of the
            Confidential Information, or disdose to third parties that It Is contemplating partJdpation In the
            Program; and

                              2.7      Not contact,    without the Company's         prior   written   consent,    any
            employees of or consultants to, the Company, or any other third party, tnduding any vendors
            or the Company, to discuss any Confidential Information. (Nothing herein shall prevent the
            Interested Party from contacting the representative of the Company with questions on
            Confidential Information.)

                     3.       Term of Agreement The term of this Agreement Is five (5) years from the
            Effective Date.        All of the provisions of this Agreement shall survive the return of the
            Confidential Information to the Company pursuant to Section 5.

                     4.       Exceptions to Interested Party's Obligations. The obligations of an
             Interested Party under this Agreement shall not apply to Confidential Information of the
             Company to the extent It Is:

                              4.1    Information that Is available or becomes available to the general public
             without restriction through no wrongful act or omission of the Interested Party;

                               4.2      Information received from a third party having the right to transfer
             said information;

                               4.3      Information that Is independently developed by the Interested Party
             without reference to Confidential Information; or

                               4.4      Olsdosed pursuant to a subpoena or order of a court, agency or
              government authority of competent Jurisdiction which is binding on the Interested Party
              provided that the Interested Party shall, to the extent permitted thereunder, Immediately
              notify the Company of and permit the Company to contest any such subpoena or order.

                        5.     Return of Confidential Information. Upon request of the Company, the
              Interested Party shall Immediately return to the Company any and all tangible material
              containing Confidential Information, Including any copies thereof and shall represent and
              warrant that all such documents have been returned. The Interested Party shall make no
              further use or disclosure of any Confidential Information.




               Initials iC^Ooterested Party)                                              Etta's -^BOthe Company)




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        Reciprocal Confidentiality & Non-Utilization Agreement                              Page 3 of 4
                6.       Non-Utlllzation.    Both parties acknowledge and agree that they have not
        been given permission by the other party to utilize any Confidential Information In any way,
        Including, but not limited to, implementing the Program or developing any product or service
        substantially similar to the Program and that any right to utilize the Confidential Information in
        providing services and/or products to third parties shall only be pursuant to a subsequent
        written agreement of the parties. Neither this Agreement nor the transfer of any Information
        hereunder, shall be construed as granting by implication, estoppel, or otherwise, any rights to
        the Technology.

                7.      Warranties. The Company warrants that It has the right to disclose to the
        Interested Party Confidential Information under the terms and conditions of this Agreement
        and that to do so does not violate any obligations to any third party. ALL OTHER WARRANTIES
        ARE DISCLAIMED, INCLUDING THAT ANY INFORMATION IS FIT FOR A PARTICULAR PURPOSE
        OR MERCHANTABLE. Without limiting the preceding sentence, the parties make no warranty as
        to the accuracy or completeness of any Information, which may be provided. The Interested
         Party shall rely solely on its own analysis and expertise in determining whether to proceed
         with any transaction to which such Information may pertain. None of the Information which
         may be disclosed regarding the Technology shall constitute any representation, warranty,
         assurance, guarantee, or Inducement of any kind, and, in particular, with respect to the non-
         infringement of licenses, patents, trademarks, copyrights, trade secrets or any Intellectual
         property rights, or other right of third persons.

                8.       Limitation of Liabilities. The Company shall only provide the Interested
         Party with copies, not originals, of the Confidential Information. In the event Confidential
         Information Is lost, damaged, stolen or destroyed while in possession or control of the
         Interested Party, the Interested Party shall not be responsible for the costs of re-creating such
         Confidential Information.

                  9.      Incorporation of Confidential Information in Other Documents. In the
         event that Confidential Information shall be Incorporated into other documents, whether
         separately or Jointly generated by the parties, such other documents shall to the extent of
         such Confidential Information be deemed Confidential Information subject to the terms of this
         Agreement

                  10.      Injunctive Relief. The Interested Party acknowledges that the.Confidential
          Information has been developed by the Company with substantial effort and at substantial
          cost and, therefore, has value to the Company; and that breach of any of the provisions of this
          Agreement could cause the Company Irreparable Injury for which no adequate remedy at law
          exists. Accordingly, the Company shall have the right, In addition to any other rights It may
          have and, by executing this Agreement, the Interested Party hereby consents, to the entry in
          any court having Jurisdiction of a temporary or permanent restraining order or injunction
          restraining or enjoining the Interested Party from any violation of this Agreement. The
          Interested Party further agrees to waive, and to use its best efforts to cause Its directors,
          officers, employees and agents to waive, any requirement for the securing or posting of any
          bond In connection with such remedy.

                 11.     Damages. Any breach of this agreement by the Interested Party shall render
          the Interested Party liable to the Company for liquidated damages In the amount of ten
          thousand ($10,000) dollars per breach. The Company shall have the right to seek either
          remedy provided In Section 10 or Section 11.

                   12.      Modification. This Agreement may only be modified in writing executed by
          both parties.

                  13.    Attorney Fees. In any proceeding to enforce or interpret any or the terms of
          this Agreement, the prevailing party shall be entitled to recover Its costs and attorneys fees.

                    14.     Governing Law. This Agreement shall be governed by and construed in
           accordance with the laws of the State of New York. The jurisdiction and venue for any legal
           proceeding to Interpret or enforce this Agreement shall be in the State of New York.



           initials X£*EErfmterested Party)                                    Initials ^jSOthe Company)




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                15.     Arbitration. All disputes In connection with this Agreement or the execution
        thereof shall be settled through friendly negotiations. In the event that no settlement can be
        reached within thirty (30) days of the Initial date of the dispute, either of the Parties may then
        submit the dispute to the American Arbitration Association sitting In New York, New York and
        In accordance with the Commercial Rules of the AAA. All decisions of the arbitrator shall be
        final and binding upon both parties. Neither party shall seek recourse In a court of law or
        appeal to other authorities for relief. Arbitration costs shall be borne by the losing party.

                   16.     Facsimile Transmissions,              Should this Agreement or any subsequent
        addendum be transmitted by facsimile or electronic mall, the signed facsimile document shall
        be considered as an original, both binding and enforceable. Further, this Agreement and/or
        any addendum hereto may be executed and delivered In multiple counterparts (via either hard
        copy, electronic mail or facsimile), and each counterpart so delivered that bears the signature
        of a party hereto shall be binding as to such party, and all counterparts together shall
        constitute the original. Any party delivering this Agreement, and/or an addendum hereto, by
        facsimile or electronic mail shall also forthwith deliver to the other party by an Internationally
        recognized courier service the counterpart of this Agreement and/or any addendum hereto
         that bears such party's original signature.

                   IN WITNESS WHEREOF, the parties hereto (or their duly authorized representatives)
         have affixed their signature on the date set forth below.

         Accepted by:                                                 Accepted by:


                                  LLC                                 AGF REALJY SOLUTIONS LLC
         ALVION




          By:         Bernd H. Weber                                  By:      Donald C. Rishell

          Title       Managing Member                                 Title:   Manager

          Date:       December 19, 2007                                Date: December 19, 2007




                                                                        COM*          ■BANK
          COMMERCE BAN




                                                                       By:




          Title       fr
                                                                       Tlttfe:/ Vice 'presi
           Date:      December     ,2007                               Date: December         , 2007




                              (Interested Party)                                       Initials        ie Company) I
            Initial




                                                                                           Exhibit H, Page 5
